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                                                                                                                                      The Sustainability Institute, et al. v. Trump, et al.
                                                                                                                                                 CIVIL NO. 2:25-cv-2152
                                                                                                                                     PRIVILEGE LOG - PROTECTED AS RESTRICTED
                                                                                                                                                     (As of 4/16/2025)

      BEGIN BATES         END BATES                                   SUBJECT                                                                 FILENAME                                        DATE SENT                          TO                         FROM                              PRIVILEGE REASON
                                                                                                                                                                                                                    Smith, Loren (OST)           Smith, Loren (OST)
DOT‐000105          DOT‐000108                                                                                 3.24.2025 OST‐P request.pdf                                                           3/24/2025 8:05 <loren.smith@dot.gov>        <loren.smith@dot.gov>        Deliberative Process
                                                                                                               ACTION_ FW_ OST‐P Data Request due 9_30AM EST Wednesday_ 3_26                                                                     "Adderly, Kevin (FHWA)"
DOT‐000109          DOT‐000110        ACTION: FW: OST‐P Data Request due 9:30AM EST Wednesday, 3/26            (FLAG).msg                                                                           3/24/2025 20:57 HEPODs <HEPODs@dot.gov>      <kevin.adderly@dot.gov>      Deliberative Process
                                                                                                                                                                                                                    Smith, Loren (OST)           Smith, Loren (OST)
DOT‐000111          DOT‐000114                                                                                 3.24.2025_OST‐P_request.pdf                                                           3/24/2025 8:05 <loren.smith@dot.gov>        <loren.smith@dot.gov>        Deliberative Process
                                                                                                                                                                                                                    "Justice, Kaitlin (Volpe)"
                                                                                                                                                                                                                    <Kaitlin.Justice@dot.gov>,
                                                                                                                                                                                                                    "Burkin, Liza (Volpe)"       "Buck, Darren (FHWA)"
DOT‐000115          DOT‐000115        ATIIP awarded project folder?                                            ATIIP awarded project folder.msg                                                     3/12/2025 15:43 <Liza.Burkin@dot.gov>        <darren.buck@dot.gov>        Deliberative Process
DOT‐000116          DOT‐000117                                                                                 Competitive Grant Funding Pause_03.14.25.docx                                                                                                                  Deliberative Process
DOT‐000118          DOT‐000120                                                                                 Competitive Grant Programs ‐ EO Analysis ‐ HEP_03‐12‐25.docx                                                                                                   Deliberative Process
DOT‐000121          DOT‐000121                                                                                 Competitive Grant Tracker ‐ ATIIP.xlsx                                                                                                                         Deliberative Process
                                                                                                               Copy of FHWA EO Implementation List with OST feedback                                                                                                          Attorney Work Product; Attorney/Client; Deliberative
DOT‐000122          DOT‐000122                                                                                 (HEP)_HEPH.xlsx                                                                                                                                                Process
                                                                                                               Draft List re. Implementation of EOs on Energy, Climate Change, Diversity,
DOT‐000123          DOT‐000123                                                                                 Gender HEPH V2.xlsx                                                                                                                                            Deliberative Process
DOT‐000124          DOT‐000124                                                                                 EO 14222 discretionary grants review data call_031125.xlsm                                                                                                     Deliberative Process
                                                                                                                                                                                                                                                                              Attorney Work Product; Attorney/Client; Deliberative
DOT‐000125          DOT‐000125                                                                          FHWA EO Implementation List with OST feedback (HEP)_03‐07‐25.xlsx                                                                                                     Process
                                                                                                        FW ACTION FW OST‐P Data Request due 930AM EST Wednesday                                                     "Adderly, Kevin (FHWA)"      "Suder, Steven (FHWA)"
DOT‐000126          DOT‐000128        FW: ACTION: FW: OST‐P Data Request due 9:30AM EST Wednesday, 3/26 326.msg                                                                                     3/25/2025 21:02 <kevin.adderly@dot.gov>      <steven.suder@dot.gov>       Deliberative Process
                                                                                                                                                                                                                    Smith, Loren (OST)           Smith, Loren (OST)
DOT‐000129          DOT‐000132                                                                                 3.24.2025_OST‐P_request.pdf                                                           3/24/2025 8:05 <loren.smith@dot.gov>        <loren.smith@dot.gov>        Deliberative Process



                                                                                                                                                                                                                    "Andotra, Michelle (FHWA)"
                                                                                                                                                                                                                    <michelle.andotra@dot.gov>,
                                                                                                                                                                                                                    "Esselman, James (FHWA)"
                                                                                                                                                                                                                    <james.esselman@dot.gov>,
                                                                                                                                                                                                                    "Gabrilovich, Lev (FHWA)"
                                                                                                                                                                                                                    <lev.gabrilovich@dot.gov>,
                                                                                                                                                                                                                    "Horan, Dawn (FHWA)"
                                                                                                                                                                                                                    <Dawn.M.Horan@dot.gov>,
                                                                                                                                                                                                                    "Mapp, Caroline (FHWA)"
                                                                                                                                                                                                                    <caroline.mapp@dot.gov>,
                                                                                                                                                                                                                    "Mobley, Diane (FHWA)"
                                                                                                                                                                                                                    <Diane.Mobley@dot.gov>,
                                                                                                                                                                                                                    "Morales, Silvio (FHWA)"
                                                                                                                                                                                                                    <silvio.morales@dot.gov>,
                                                                                                                                                                                                                    "Serody, David (FHWA)"
                                                                                                                                                                                                                    <david.serody@dot.gov>,
                                                                                                                                                                                                                    "Shaw, Alla (FHWA)"
                                                                                                                                                                                                                    <Alla.Shaw@dot.gov>,
                                                                                                                                                                                                                    "Tikhonova, Mariya (FHWA)"
                                                                                                                                                                                                                    <mariya.tikhonova@dot.gov>,
                                                                                                                                                                                                                    "Winne, William (FHWA)"
                                                                                                                                                                                                                    <william.winne@dot.gov>,
                                                                                                                                                                                                                    "Hardiman‐Tobin, Gloria
                                      FW: [Action requested by March 24, 2025] Review of existing              FW Action requested by March 24 2025 Review of existing discretionary                                (FHWA)" <Gloria.Hardiman‐   "Harkins, Michael (FHWA)"
DOT‐000133          DOT‐000135        discretionary grant award agreements                                     grant award agreements.msg                                                           3/11/2025 20:21 Tobin@dot.gov>              <Michael.Harkins@dot.gov>     Attorney/Client; Deliberative Process
DOT‐000136          DOT‐000136                                                                                 EO_14222_discretionary_grants_review_data_call_031125.xlsm                                                                                                     Deliberative Process
                                                                                                                                                                                                                    "Suder, Steven (FHWA)"
                                                                                                                                                                                                                    <steven.suder@dot.gov>,
                                      FW: Follow up re: List in response to S1 memo implementing the           FW Follow up re List in response to S1 memo implementing the                                         "Neathery, Mike (FHWA)"      "Schaftlein, Shari (FHWA)"
DOT‐000137          DOT‐000138        President's Executive Orders                                             President's Executive Orders.msg                                                      3/7/2025 19:39 <Mike.Neathery@dot.gov>      <Shari.Schaftlein@dot.gov>   Deliberative Process
DOT‐000139          DOT‐000139                                                                                 Attachments.zip                                                                                                                                                Deliberative Process
                                                                                                                                                                                                                    FHWA‐#ALLDA‐
                                                                                                                                                                                                                    OfficialMailbox; FHWA‐
                                      ACTION: Assessing Fees for Electric Vehicle Chargers in the Interstate   Line‐10_ACTION_ Assessing Fees for Electric Vehicle Chargers in the                                  #ALLFLH‐OfficialMailbox;
DOT‐000140          DOT‐000144        Right‐of‐Way                                                             Interstate Right‐of‐Way.pdf                                                          1/14/2022 12:40 REALTY‐ALL                   Shepherd, Gloria (FHWA)      Deliberative Process

DOT‐000145          DOT‐000163                                                                                 Line‐28_693JJ323F00439N_SOW_MOD P00002_updated 3‐4‐24.docx                                                                                                     Deliberative Process
DOT‐000164          DOT‐000167                                                                                 Line‐2_2018‐2020 Pilots.docx                                                                                                                                   Deliberative Process
                                                                                                               Line‐31_Redline_693JJ324F00440N_SOW_PROTECT Metrics and
DOT‐000168          DOT‐000210                                                                                 Evaluation v3.docx                                                                                                                                             Deliberative Process
DOT‐000211          DOT‐000215                                                                                 Line‐41_Environmental Review Provisions in IIJA_03062025.docx                                                                                                  Deliberative Process
DOT‐000216          DOT‐000235                                                                                 Line‐4_693JJ32250015_FE.pdf                                                                                                                                    Deliberative Process
DOT‐000236          DOT‐000293                                                                                 Line‐5_Revised PWS_ERI TA Centers_2.14.2025_DRAFT_V2.docx                                                                                                      Deliberative Process
DOT‐000294          DOT‐000299                                                                                 Line‐61_PPPP FAQ Website Edits ‐ 030725.docx                                                                                                                   Deliberative Process
                                                                                                               Line‐70_Volpe‐HEPN
DOT‐000300          DOT‐000308                                                                                 SOW_HW58P123_mod4_Feb2025_trackchanges.docx                                                                                                                    Deliberative Process
DOT‐000309          DOT‐000316                                                                                 Line‐71_HWE8A123_PROTECT_SOW_Mod 1_2‐13‐25.docx                                                                                                                Deliberative Process
DOT‐000317          DOT‐000374                                                                                 Line‐86_Revised PWS_ERI TA Centers_2.14.2025_DRAFT_V2.docx                                                                                                     Deliberative Process
                                                                                                                                                                                                                    FHWA‐#ALLDA‐
                                                                                                                                                                                                                    OfficialMailbox; FHWA‐
                                                                                                                                                                                                                    #ALLDA‐PersonalMailbox;
                                      INFORMATION: Projects Involving Residential or Non‐Residential           Line‐88_INFORMATION_ Projects Involving Residential or Non‐Residential                               FHWA‐#ALLFLH‐
DOT‐000375          DOT‐000376        Displacements                                                            Displacements.pdf                                                                   10/13/2022 14:00 OfficialMailbox              Shepherd, Gloria (FHWA)      Deliberative Process
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      BEGIN BATES         END BATES                                  SUBJECT                                                           FILENAME                                       DATE SENT                          TO                         FROM                             PRIVILEGE REASON
                                                                                                        FHWA_EO_Implementation_List_with_OST_feedback_(HEP)_03‐07‐                                                                                                    Attorney Work Product; Attorney/Client; Deliberative
DOT‐000377          DOT‐000377                                                                          25.xlsx                                                                                                                                                       Process
                                                                                                                                                                                                            "Torres‐Gonzalez, Jaime
                                                                                                                                                                                                            (FHWA)"                      "Buck, Ryan (FHWA)"
DOT‐000378          DOT‐000379        FW: UPDATE: Pause on Federal Financial Assistance                 FW UPDATE Pause on Federal Financial Assistance (1).msg                             2/12/2025 19:16 <Jaime.Torres@dot.gov>       <ryan.buck@dot.gov>          Deliberative Process
DOT‐000380          DOT‐000380                                                                          M‐25‐14_Final.pdf                                                                                                                                             Deliberative Process
DOT‐000381          DOT‐000382                                                                          OMB_Memo_M‐25‐13.pdf                                                                                                                                          Deliberative Process
                                                                                                                                                                                                            "Sager, Charles (FHWA)"      "Buck, Ryan (FHWA)"
DOT‐000383          DOT‐000383        FW: UPDATE: Pause on Federal Financial Assistance                 FW UPDATE Pause on Federal Financial Assistance.msg                                  2/3/2025 14:09 <charles.sager@dot.gov>      <ryan.buck@dot.gov>          Deliberative Process
DOT‐000384          DOT‐000384                                                                          M‐25‐14_Final.pdf                                                                                                                                             Deliberative Process
DOT‐000385          DOT‐000386                                                                          OMB_Memo_M‐25‐13.pdf                                                                                                                                          Deliberative Process
                                                                                                                                                                                                            "Suder, Steven (FHWA)"
                                                                                                        FW_ ACTION_ FW_ ACTION_ Discretionary Grant and Cooperative                                         <steven.suder@dot.gov>,
                                      FW: ACTION: FW: ACTION: Discretionary Grant and Cooperative       Agreement Data Request Due by 10 AM_ Wednesday_ March 19th (1)                                      "Buck, Darren (FHWA)"        "Tran, Thanh (FHWA)"
DOT‐000387          DOT‐000390        Agreement Data Request Due by 10 AM, Wednesday, March 19th        (FLAG).msg                                                                          3/13/2025 18:52 <darren.buck@dot.gov>        <Thanh.Tran@dot.gov>         Deliberative Process

                                                                                                                                                                                                            CFOS LIST CORE
                                                                                                                                                                                                            <CFOSLISTCORE@dot.gov>;
                                                                                                                                                                                                            Associate Administrators for
                                                                                                                                                                                                            Administration
                                                                                                                                                                                                            <AssociateAdministratorsforA Hubbard, Rhea (OST)
DOT‐000391          DOT‐000392                                                                          OST‐M_Memo.pdf                                                                      3/11/2025 11:48 dministration@dot.gov>       <rhea.hubbard@dot.gov>       Deliberative Process
                                                                                                                                                                                                                                         Smith, Loren (OST)
DOT‐000393          DOT‐000395                                                                          OST‐P_Memo.pdf                                                                      3/11/2025 15:06                              <loren.smith@dot.gov>        Deliberative Process
                                                                                                        FW_ ACTION_ FW_ ACTION_ Discretionary Grant and Cooperative
                                      FW: ACTION: FW: ACTION: Discretionary Grant and Cooperative       Agreement Data Request Due by 10 AM_ Wednesday_ March 19th                                          "Suder, Steven (FHWA)"       "Schaftlein, Shari (FHWA)"
DOT‐000396          DOT‐000399        Agreement Data Request Due by 10 AM, Wednesday, March 19th        (2).msg                                                                             3/13/2025 14:46 <steven.suder@dot.gov>       <Shari.Schaftlein@dot.gov>   Deliberative Process

                                                                                                                                                                                                            CFOS LIST CORE
                                                                                                                                                                                                            <CFOSLISTCORE@dot.gov>;
                                                                                                                                                                                                            Associate Administrators for
                                                                                                                                                                                                            Administration
                                                                                                                                                                                                            <AssociateAdministratorsforA Hubbard, Rhea (OST)
DOT‐000400          DOT‐000401                                                                          OST‐M_Memo.pdf                                                                      3/11/2025 11:48 dministration@dot.gov>       <rhea.hubbard@dot.gov>       Deliberative Process
                                                                                                                                                                                                                                         Smith, Loren (OST)
DOT‐000402          DOT‐000404                                                                          OST‐P_Memo.pdf                                                                      3/11/2025 15:06                              <loren.smith@dot.gov>        Deliberative Process
                                                                                                                                                                                                            "Douwes, Christopher
                                                                                                                                                                                                            (FHWA)"
                                      FW: ACTION: FW: ACTION: Discretionary Grant and Cooperative       FW_ ACTION_ FW_ ACTION_ Discretionary Grant and Cooperative                                         <Christopher.Douwes@dot.go "Suder, Steven (FHWA)"
DOT‐000405          DOT‐000408        Agreement Data Request Due by 10 AM, Wednesday, March 19th        Agreement Data Request Due by 10 AM_ Wednesday_ March 19th .msg                     3/13/2025 21:03 v>                           <steven.suder@dot.gov>       Deliberative Process

                                                                                                                                                                                                            CFOS LIST CORE
                                                                                                                                                                                                            <CFOSLISTCORE@dot.gov>;
                                                                                                                                                                                                            Associate Administrators for
                                                                                                                                                                                                            Administration
                                                                                                                                                                                                            <AssociateAdministratorsforA Hubbard, Rhea (OST)
DOT‐000409          DOT‐000410                                                                          OST‐M_Memo.pdf                                                                      3/11/2025 11:48 dministration@dot.gov>       <rhea.hubbard@dot.gov>       Deliberative Process
                                                                                                                                                                                                                                         Smith, Loren (OST)
DOT‐000411          DOT‐000413                                                                          OST‐P_Memo.pdf                                                                      3/11/2025 15:06                              <loren.smith@dot.gov>        Deliberative Process
                                                                                                                                                                                                            "Schaftlein, Shari (FHWA)"
                                                                                                                                                                                                            <Shari.Schaftlein@dot.gov>,
                                                                                                        FW_ ACTION_ FW_ OST‐P Data Request due 9_30AM EST Wednesday_                                        "Suder, Steven (FHWA)"       "Buck, Darren (FHWA)"
DOT‐000414          DOT‐000416        FW: ACTION: FW: OST‐P Data Request due 9:30AM EST Wednesday, 3/26 3_26.msg                                                                            3/25/2025 17:42 <steven.suder@dot.gov>       <darren.buck@dot.gov>        Deliberative Process
                                                                                                                                                                                                            Smith, Loren (OST)           Smith, Loren (OST)
DOT‐000417          DOT‐000420                                                                         1 3.24.2025_OST‐P_request.pdf                                                         3/24/2025 8:05 <loren.smith@dot.gov>        <loren.smith@dot.gov>        Deliberative Process

                                      FW: Follow up re: List in response to S1 memo implementing the    FW_ Follow up re_ List in response to S1 memo implementing the                                      "Schaftlein, Shari (FHWA)"   "Suder, Steven (FHWA)"
DOT‐000421          DOT‐000422        President's Executive Orders                                      President's Executive Orders.msg                                                     3/6/2025 14:02 <Shari.Schaftlein@dot.gov>   <steven.suder@dot.gov>       Deliberative Process
                                                                                                        Copy_of_FHWA_EO_Implementation_List_with_OST_feedback_(HEP)_HE                                                                                                Attorney Work Product; Attorney/Client; Deliberative
DOT‐000423          DOT‐000423                                                                          PH.xlsx                                                                                                                                                       Process

                                                                                                                                                                                                            "Burnell, Tamiko (FHWA)"
                                                                                                                                                                                                            <Tamiko.Burnell@dot.gov>,
                                                                                                                                                                                                            "Rogers, Alison (FHWA)"
                                                                                                                                                                                                            <alison.rogers@dot.gov>,
                                                                                                                                                                                                            "Maiefski, Melissa (FHWA)"
                                                                                                                                                                                                            <melissa.maiefski@dot.gov>,
                                                                                                                                                                                                            "Shaw, Alla (FHWA)"
                                                                                                                                                                                                            <Alla.Shaw@dot.gov>,
                                                                                                                                                                                                            "Serody, David (FHWA)"      "Buck, Darren (FHWA)"
DOT‐000424          DOT‐000428        FW: INFORMATION: OST Discretionary Grant Guidance                 FW_ INFORMATION_ OST Discretionary Grant Guidance.msg                                3/4/2025 14:59 <david.serody@dot.gov>      <darren.buck@dot.gov>         Deliberative Process

                                                                                                                                                                                                            "Schaftlein, Shari (FHWA)"   "Suder, Steven (FHWA)"
DOT‐000429          DOT‐000433        FW: Rep. Carbajal (CA) ‐ Assistance with Pending Funding          FW_ Rep_ Carbajal (CA) ‐ Assistance with Pending Funding .msg                       3/27/2025 17:06 <Shari.Schaftlein@dot.gov>   <steven.suder@dot.gov>       Deliberative Process
                                                                                                                                                                                                            "Justice, Kaitlin (Volpe)"
                                                                                                                                                                                                            <Kaitlin.Justice@dot.gov>,
                                                                                                                                                                                                            "Burkin, Liza (Volpe)"       "Buck, Darren (FHWA)"
DOT‐000434          DOT‐000438        FW: Updated DOT Guidance on Competitive Grants                    FW_ Updated DOT Guidance on Competitive Grants (1) (1).msg                          3/12/2025 19:27 <Liza.Burkin@dot.gov>        <darren.buck@dot.gov>        Deliberative Process
                                        2:25-cv-02152-RMG                              Date Filed 04/17/25                                                 Entry Number 68-1                                 Page 3 of 15


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      BEGIN BATES         END BATES                                SUBJECT                                          FILENAME                                        DATE SENT                          TO                         FROM                               PRIVILEGE REASON

                                                                                                                                                                                          "Neathery, Mike (FHWA)"
                                                                                                                                                                                          <Mike.Neathery@dot.gov>,
                                                                                                                                                                                          "Douwes, Christopher
                                                                                                                                                                                          (FHWA)"
                                                                                                                                                                                          <Christopher.Douwes@dot.go
                                                                                                                                                                                          v>, "Dupont, Bernadette
                                                                                                                                                                                          (FHWA)"
                                                                                                                                                                                          <Bernadette.Dupont@dot.gov
                                                                                                                                                                                          >, "Buck, Darren (FHWA)"
                                                                                                                                                                                          <darren.buck@dot.gov>, "Hall,
                                                                                                                                                                                          Faith (FHWA)"
                                                                                                                                                                                          <Faith.Hall@dot.gov>, "Keiner,
                                                                                                                                                                                          Bronwen (FHWA)"
                                                                                                                                                                                          <bronwen.keiner@dot.gov>,
                                                                                                                                                                                          "Starks, Edward (FHWA)"
                                                                                                                                                                                          <edward.starks@dot.gov>,
                                                                                                                                                                                          "Coley, Addison (FHWA)"        "Suder, Steven (FHWA)"
DOT‐000439          DOT‐000442        FW: Updated DOT Guidance on Competitive Grants   FW_ Updated DOT Guidance on Competitive Grants (2).msg                             3/12/2025 15:51 <addison.coley@dot.gov>        <steven.suder@dot.gov>      Deliberative Process
                                                                                                                                                                                          "Sleeter, Adam (FHWA)"
                                                                                                                                                                                          <adam.sleeter@dot.gov>,
                                                                                                                                                                                          "Serody, David (FHWA)"         "Harkins, Michael (FHWA)"
DOT‐000443          DOT‐000447        FW: Updated DOT Guidance on Competitive Grants   FW_ Updated DOT Guidance on Competitive Grants.msg                                 3/24/2025 13:32 <david.serody@dot.gov>         <Michael.Harkins@dot.gov>   Attorney/Client; Deliberative Process
DOT‐000448          DOT‐000448                                                         March_2025_Competitive_Grants_Review_Workbook.xlsm                                                                                                            Deliberative Process




                                                                                                                                                                                          "Douwes, Christopher
                                                                                                                                                                                          (FHWA)"
                                                                                                                                                                                          <Christopher.Douwes@dot.go
                                                                                                                                                                                          v>, "Coley, Addison (FHWA)"
                                                                                                                                                                                          <addison.coley@dot.gov>,
                                                                                                                                                                                          "Dupont, Bernadette (FHWA)"
                                                                                                                                                                                          <Bernadette.Dupont@dot.gov
                                                                                                                                                                                          >, "Buck, Darren (FHWA)"
                                                                                                                                                                                          <darren.buck@dot.gov>, "Hall,
                                                                                                                                                                                          Faith (FHWA)"                 "Suder, Steven (FHWA)"
DOT‐000449          DOT‐000453        Fw: Updated DOT Guidance on Competitive Grants   Fw Updated DOT Guidance on Competitive Grants.msg                                  3/13/2025 11:48 <Faith.Hall@dot.gov>          <steven.suder@dot.gov>       Deliberative Process

DOT‐000454          DOT‐000456                                                         Competitive_Grant_Programs_‐_EO_Analysis_‐_HEP_03‐12‐25.docx                                       Rocheleau, Chris FAA aoa                                   Deliberative Process
                                                                                                                                                                                          cr@faa.gov>; McKenna, Liam
                                                                                                                                                                                          <FAA>
                                                                                                                                                                                          <liam.mckenna@faa.gov>;
                                                                                                                                                                                          Hearding, Peter W <FAA>
                                                                                                                                                                                          <peter.w.hearding@faa.gov>;
                                                                                                                                                                                          Payne, Jay (FHWA)
                                                                                                                                                                                          <jay.payne@dot.gov>;
                                                                                                                                                                                          Shepherd, Gloria (FHWA)
                                                                                                                                                                                          <Gloria.Shepherd@dot.gov>;
                                                                                                                                                                                          Fleury, Nicolle (FHWA)
                                                                                                                                                                                          <Nicolle.Fleury@dot.gov>;
                                                                                                                                                                                          Welbes, Matt (FTA)
                                                                                                                                                                                          <Matt.Welbes@dot.gov>;
                                                                                                                                                                                          Nifosi, Dana (FTA)
                                                                                                                                                                                          <Dana.Nifosi@dot.gov>;
                                                                                                                                                                                          Simshauser, Peter (NHTSA)
                                                                                                                                                                                          <peter.simshauser@dot.gov>;
                                                                                                                                                                                          Danielson, Jack (NHTSA)
                                                                                                                                                                                          <jack.danielson@dot.gov>;
                                                                                                                                                                                          Fields, Kyle (FRA)
                                                                                                                                                                                          <kyle.fields@dot.gov>;
                                                                                                                                                                                          Lestingi, Michael (FRA)
                                                                                                                                                                                          <michael.lestingi@dot.gov>;
                                                                                                                                                                                          Van Nostrand, Christopher
                                                                                                                                                                                          (FRA)
                                                                                                                                                                                          <christopher.vannostrand@do
DOT‐000457          DOT‐000460        DOT Guidance on Discretionary Grants             Fw_ DOT Guidance on Discretionary Grant NOFOs.pdf                                                  t.gov>; Fisher, Anthony (GLS)                              Deliberative Process
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                                                                                                                                                                                                              "Douwes, Christopher
                                                                                                                                                                                                              (FHWA)"
                                                                                                                                                                                                              <Christopher.Douwes@dot.go
                                                                                                                                                                                                              v>, "Coley, Addison (FHWA)"
                                                                                                                                                                                                              <addison.coley@dot.gov>,
                                                                                                                                                                                                              "Dupont, Bernadette (FHWA)"
                                                                                                                                                                                                              <Bernadette.Dupont@dot.gov
                                                                                                                                                                                                              >, "Buck, Darren (FHWA)"
                                                                                                                                                                                                              <darren.buck@dot.gov>, "Hall,
                                                                                                                                                                                                              Faith (FHWA)"                 "Suder, Steven (FHWA)"
DOT‐000461          DOT‐000465        Fw: Updated DOT Guidance on Competitive Grants                      Fw_ Updated DOT Guidance on Competitive Grants (1).msg                              3/13/2025 11:48 <Faith.Hall@dot.gov>          <steven.suder@dot.gov>     Deliberative Process

DOT‐000466          DOT‐000468                                                                            Competitive_Grant_Programs_‐_EO_Analysis_‐_HEP_03‐12‐25.docx                                                                                                 Deliberative Process
DOT‐000469          DOT‐000474                                                                            GMD Program Manager January 22 Microsoft Teams Chat.pdf                                                                                                      Deliberative Process

                                                                                                                                                                                                              FHWA‐#Leadership Team‐
                                                                                                                                                                                                              OfficialMailbox <FHWA‐
                                                                                                                                                                                                              LeadershipTeam‐
                                                                                                                                                                                                              OfficialMailbox@dot.gov>,
                                                                                                                                                                                                              "FHWA‐#Leadership Team‐
                                                                                                                                                                                                              PersonalMailbox" <FHWA‐
                                                                                                                                                                                                              LeadershipTeam‐                "Baker, Shana (FHWA)"
DOT‐000475          DOT‐000478        INFORMATION: OST Discretionary Grant Guidance                       INFORMATION_ OST Discretionary Grant Guidance.msg                                   2/19/2025 13:44 PersonalMailbox@dot.gov>       <Shana.Baker@dot.gov>     Deliberative Process
DOT‐000479          DOT‐000479                                                                            March 2025 Competitive Grants Review Workbook.xlsm                                                                                                           Deliberative Process

                                                                                                                                                                                                                "Jackson, Jeremy (FHWA)"
DOT‐000480          DOT‐000485        Meeting Notes ‐ Discretionary Grant Monthly Update ‐ 01.27.25       Meeting Notes ‐ Discretionary Grant Monthly Update ‐ 01_27_25.msg                                     <Jeremy.Jackson1@dot.gov>                              Deliberative Process
DOT‐000486          DOT‐000489                                                                            OST Data Request Instructions (003).pptx                                                                                                                     Deliberative Process
DOT‐000490          DOT‐000490                                                                            OST EO Grant and Coop Agreement Review_HEP_03‐19‐25.xlsm                                                                                                     Deliberative Process
DOT‐000491          DOT‐000491                                                                            OST EO Grant and Cooperative Agreement Review .xlsm                                                                                                          Deliberative Process

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                                                                                                                                                                                                              <CFOSLISTCORE@dot.gov>;
                                                                                                                                                                                                              Associate Administrators for
                                                                                                                                                                                                              Administration
                                                                                                                                                                                                              <AssociateAdministratorsforA   Hubbard, Rhea (OST)
DOT‐000492          DOT‐000493                                                                            OST‐M Memo.pdf                                                                      3/11/2025 11:48 dministration@dot.gov>         <rhea.hubbard@dot.gov>    Deliberative Process
                                                                                                                                                                                                              DGCD <DGCD@dot.gov>,
                                                                                                                                                                                                              "Burnell, Tamiko (FHWA)"
DOT‐000494          DOT‐000495        OST‐P Data Request due 9:30AM EST Wednesday, 3/26                   OST‐P Data Request due 9_30AM EST Wednesday_ 3_26.msg                               3/24/2025 20:46 <Tamiko.Burnell@dot.gov>       DGCD <DGCD@dot.gov>       Deliberative Process
                                                                                                                                                                                                              Smith, Loren (OST)             Smith, Loren (OST)
DOT‐000496          DOT‐000499                                                                            3.24.2025_OST‐P_request.pdf                                                          3/24/2025 8:05 <loren.smith@dot.gov>          <loren.smith@dot.gov>     Deliberative Process
                                                                                                                                                                                                                                             Smith, Loren (OST)
DOT‐000500          DOT‐000502                                                                            OST‐P Memo.pdf                                                                      3/11/2025 15:06                                <loren.smith@dot.gov>     Deliberative Process
                                                                                                          Program Manager Roundtable March 13 Microsoft Teams Chat Part
DOT‐000503          DOT‐000505                                                                            Two.pdf                                                                                                                                                      Deliberative Process

DOT‐000506          DOT‐000508                                                                            Program Manager Roundtable March 13 Microsoft Teams Chat.pdf                                                                                                 Deliberative Process

                                                                                                                                                                                                              "Schaftlein, Shari (FHWA)"
                                                                                                                                                                                                              <Shari.Schaftlein@dot.gov>,
                                                                                                                                                                                                              "Tran, Thanh (FHWA)"
                                                                                                                                                                                                              <Thanh.Tran@dot.gov>,
                                                                                                                                                                                                              "Brooks, Hope (FHWA)"
                                                                                                                                                                                                              <hope.brooks@dot.gov>,
                                      RE: ACTION: DUE COB TUESDAY, FEBRUARY 4: S1 memo implementing       RE ACTION DUE COB TUESDAY FEBRUARY 4 S1 memo implementing the                                       "Bond, Alexander (FHWA)"       "Hall, Faith (FHWA)"
DOT‐000509          DOT‐000512        the President's Executive Orders                                    President's Executive Orders.msg                                                     2/4/2025 16:18 <alexander.bond@dot.gov>       <Faith.Hall@dot.gov>      Deliberative Process
                                                                                                          Draft_List_re._Implementation_of_EOs_on_Energy,_Climate_Change,_Di
DOT‐000513          DOT‐000513                                                                            versity,_Gender_HEPH_V2.xlsx                                                                                                                                 Deliberative Process
                                                                                                                                                                                                              "Buck, Darren (FHWA)"
                                                                                                                                                                                                              <darren.buck@dot.gov>,
                                                                                                                                                                                                              "Justice, Kaitlin (Volpe)"     "Burkin, Liza (Volpe)"
DOT‐000514          DOT‐000515        RE: ATIIP awarded project folder?                                   RE ATIIP awarded project folder.msg                                                 3/17/2025 15:54 <Kaitlin.Justice@dot.gov>      <Liza.Burkin@dot.gov>     Deliberative Process

                                                                                                          GRANT14215285_ProjectNarrativeAttachments_1_2‐Attachments‐1234‐
DOT‐000516          DOT‐000531                                                                            City_of_Charlotte_ATIIP_Project_Narrative_‐_REPLACEMENT_(1).pdf                                                                                              Deliberative Process
DOT‐000532          DOT‐000551                                                                            NDOT_ATIIP_Grant_East_Nashville_Spokes_Narrative_(1).pdf                                                                                                     Deliberative Process
                                                                                                                                                                                                              "Buck, Darren (FHWA)"          "Suder, Steven (FHWA)"
DOT‐000552          DOT‐000553        RE: ATIIP response to Emily email                                   RE ATIIP response to Emily email.msg                                                3/12/2025 18:14 <darren.buck@dot.gov>          <steven.suder@dot.gov>    Deliberative Process
                                      RE: U.S. DOT Federal Highway Administration FHWA BIL Updates FY23   RE U.S. DOT Federal Highway Administration FHWA BIL Updates FY23                                    "Suder, Steven (FHWA)"         "Buck, Darren (FHWA)"
DOT‐000554          DOT‐000556        ATIIP Award Announcement                                            ATIIP Award Announcement.msg                                                        2/25/2025 21:15 <steven.suder@dot.gov>         <darren.buck@dot.gov>     Deliberative Process
                                                                                                                                                                                                              DGCD <DGCD@dot.gov>,
                                      RE: ACTION: Discretionary Grant and Cooperative Agreement Data      RE_ ACTION_ Discretionary Grant and Cooperative Agreement Data                                      "Biondi, Emily (FHWA)"         "Adderly, Kevin (FHWA)"
DOT‐000557          DOT‐000559        Request                                                             Request.msg                                                                         3/19/2025 20:45 <Emily.Biondi@dot.gov>         <kevin.adderly@dot.gov>   Deliberative Process

DOT‐000560          DOT‐000560                                                                            OST_EO_Grant_and_Coop_Agreement_Review_HEP_03‐19‐25.xlsm                                                                                                     Deliberative Process
                                        2:25-cv-02152-RMG                                                   Date Filed 04/17/25                                                  Entry Number 68-1                                  Page 5 of 15


                                                                                                                                  The Sustainability Institute, et al. v. Trump, et al.
                                                                                                                                             CIVIL NO. 2:25-cv-2152
                                                                                                                                 PRIVILEGE LOG - PROTECTED AS RESTRICTED
                                                                                                                                                 (As of 4/16/2025)

      BEGIN BATES         END BATES                                  SUBJECT                                                              FILENAME                                        DATE SENT                          TO                          FROM                             PRIVILEGE REASON
                                                                                                            RE_ ACTION_ FW_ ACTION_ Discretionary Grant and Cooperative
                                      RE: ACTION: FW: ACTION: Discretionary Grant and Cooperative           Agreement Data Request Due by 10 AM_ Wednesday_ March 19th (3)                                      "Suder, Steven (FHWA)"        "Schaftlein, Shari (FHWA)"
DOT‐000561          DOT‐000565        Agreement Data Request Due by 10 AM, Wednesday, March 19th            .msg                                                                                3/18/2025 21:11 <steven.suder@dot.gov>        <Shari.Schaftlein@dot.gov>   Deliberative Process
                                                                                                                                                                                                                "Tran, Thanh (FHWA)"
                                                                                                                                                                                                                <Thanh.Tran@dot.gov>,
                                      RE: ACTION: FW: ACTION: Discretionary Grant and Cooperative           RE_ ACTION_ FW_ ACTION_ Discretionary Grant and Cooperative                                         "Buck, Darren (FHWA)"         "Suder, Steven (FHWA)"
DOT‐000566          DOT‐000569        Agreement Data Request Due by 10 AM, Wednesday, March 19th            Agreement Data Request Due by 10 AM_ Wednesday_ March 19th .msg                     3/13/2025 18:53 <darren.buck@dot.gov>         <steven.suder@dot.gov>       Deliberative Process

                                                                                                                                                                                                                "Suder, Steven (FHWA)"
                                                                                                                                                                                                                <steven.suder@dot.gov>,
                                                                                                        RE_ ACTION_ FW_ OST‐P Data Request due 9_30AM EST Wednesday_                                            "Schaftlein, Shari (FHWA)"    "Buck, Darren (FHWA)"
DOT‐000570          DOT‐000572        RE: ACTION: FW: OST‐P Data Request due 9:30AM EST Wednesday, 3/26 3_26.msg                                                                                3/25/2025 18:05 <Shari.Schaftlein@dot.gov>    <darren.buck@dot.gov>        Deliberative Process
                                                                                                                                                                                                                "Suder, Steven (FHWA)"
                                                                                                                                                                                                                <steven.suder@dot.gov>,       "Dupont, Bernadette (FHWA)"
                                                                                                                                                                                                                "Buck, Darren (FHWA)"         <Bernadette.Dupont@dot.gov
DOT‐000573          DOT‐000575        RE: ACTION: Interim Grant/Amendment Approval Guidance                 RE_ ACTION_ Interim Grant_Amendment Approval Guidance.msg                            4/3/2025 12:39 <darren.buck@dot.gov>         >                           Deliberative Process


                                                                                                                                                                                                                "Burkin, Liza (Volpe)"
                                                                                                                                                                                                                <Liza.Burkin@dot.gov>,
                                                                                                                                                                                                                "Dupont, Bernadette (FHWA)"
                                                                                                                                                                                                                <Bernadette.Dupont@dot.gov
                                                                                                                                                                                                                >, "Justice, Kaitlin (Volpe)" "Buck, Darren (FHWA)"
DOT‐000576          DOT‐000577        RE: ATIIP awarded project folder?                                     RE_ ATIIP awarded project folder_.msg                                               3/13/2025 19:16 <Kaitlin.Justice@dot.gov>     <darren.buck@dot.gov>        Deliberative Process

                                                                                                                                                                                                                "Schaftlein, Shari (FHWA)"
                                                                                                                                                                                                                <Shari.Schaftlein@dot.gov>,
                                                                                                                                                                                                                "Neathery, Mike (FHWA)"       "Suder, Steven (FHWA)"
DOT‐000578          DOT‐000579        RE: Action: FHWA Grants Tracker Status Updates                        RE_ Action_ FHWA Grants Tracker Status Updates (1).msg                              3/20/2025 15:57 <Mike.Neathery@dot.gov>       <steven.suder@dot.gov>       Deliberative Process

                                                                                                                                                                                                                "Suder, Steven (FHWA)"
                                                                                                                                                                                                                <steven.suder@dot.gov>,
                                                                                                                                                                                                                "Schaftlein, Shari (FHWA)"    "Neathery, Mike (FHWA)"
DOT‐000580          DOT‐000581        RE: Action: FHWA Grants Tracker Status Updates                        RE_ Action_ FHWA Grants Tracker Status Updates.msg                                  3/20/2025 16:36 <Shari.Schaftlein@dot.gov>    <Mike.Neathery@dot.gov>      Deliberative Process

                                                                                                                                                                                                                "Suder, Steven (FHWA)"
                                                                                                                                                                                                                <steven.suder@dot.gov>,
                                      RE: Follow up re: List in response to S1 memo implementing the        RE_ Follow up re_ List in response to S1 memo implementing the                                      "Schaftlein, Shari (FHWA)"    "Buck, Darren (FHWA)"
DOT‐000582          DOT‐000584        President's Executive Orders                                          President's Executive Orders (1).msg                                                 3/6/2025 14:20 <Shari.Schaftlein@dot.gov>    <darren.buck@dot.gov>        Deliberative Process

                                                                                                                                                                                                                "Weems, Dysha (FHWA)"         "Jackson, Jeremy (FHWA)"
DOT‐000585          DOT‐000587        RE: Grant agreement status for I‐55                                   RE_ Grant agreement status for I‐55.msg                                             3/20/2025 13:55 <Dysha.Weems@dot.gov>         <Jeremy.Jackson1@dot.gov>    Deliberative Process
                                                                                                            Notes_from_TDOT_Region_4_Meeting_FY_23_FY24_BIP_FY_23_RAISE_‐
DOT‐000588          DOT‐000589                                                                              _03.18.25.docx                                                                                                                                                 Deliberative Process
                                                                                                                                                                                                                "Buck, Darren (FHWA)"         "Rogers, Alison (FHWA)"
DOT‐000590          DOT‐000595        RE: INFORMATION: OST Discretionary Grant Guidance                     RE_ INFORMATION_ OST Discretionary Grant Guidance (1).msg                            3/5/2025 17:18 <darren.buck@dot.gov>         <alison.rogers@dot.gov>      Deliberative Process
                                                                                                                                                                                                                "Rogers, Alison (FHWA)"
                                                                                                                                                                                                                <alison.rogers@dot.gov>,
                                                                                                                                                                                                                "Buck, Darren (FHWA)"         "Maiefski, Melissa (FHWA)"
DOT‐000596          DOT‐000601        RE: INFORMATION: OST Discretionary Grant Guidance                     RE_ INFORMATION_ OST Discretionary Grant Guidance (2).msg                            3/5/2025 17:26 <darren.buck@dot.gov>         <melissa.maiefski@dot.gov>   Deliberative Process

                                                                                                                                                                                                                "Burnell, Tamiko (FHWA)"
                                                                                                                                                                                                                <Tamiko.Burnell@dot.gov>,
                                                                                                                                                                                                                "Rogers, Alison (FHWA)"
                                                                                                                                                                                                                <alison.rogers@dot.gov>,
                                                                                                                                                                                                                "Maiefski, Melissa (FHWA)"
                                                                                                                                                                                                                <melissa.maiefski@dot.gov>,
                                                                                                                                                                                                                "Shaw, Alla (FHWA)"
                                                                                                                                                                                                                <Alla.Shaw@dot.gov>,
                                                                                                                                                                                                                "Serody, David (FHWA)"        "Buck, Darren (FHWA)"
DOT‐000602          DOT‐000606        RE: INFORMATION: OST Discretionary Grant Guidance                     RE_ INFORMATION_ OST Discretionary Grant Guidance.msg                                3/4/2025 16:09 <david.serody@dot.gov>        <darren.buck@dot.gov>        Deliberative Process
                                                                                                                                                                                                                "Serody, David (FHWA)"
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                                                                                                                                                                                                                "Suder, Steven (FHWA)"
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                                                                                                                                                                                                                "Rogers, Alison (FHWA)"
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                                      RE: New "spending freeze" case in South Carolina, request regarding   RE_ New _spending freeze_ case in South Carolina_ request regarding                                 "Black, Laura (FHWA)"         <Bernadette.Dupont@dot.gov Attorney Work Product; Attorney/Client; Deliberative
DOT‐000607          DOT‐000611        allegations made related to FHWA grants                               allegations made related to FHWA grants (1) (1).msg                                  4/1/2025 16:02 <Laura.Black@dot.gov>         >                           Process
                                        2:25-cv-02152-RMG                                                   Date Filed 04/17/25                                                  Entry Number 68-1                                 Page 6 of 15


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                                                                                                                                                                                                                "Serody, David (FHWA)"
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                                                                                                                                                                                                                >, "Rogers, Alison (FHWA)"
                                                                                                                                                                                                                <alison.rogers@dot.gov>,
                                      RE: New "spending freeze" case in South Carolina, request regarding   RE_ New _spending freeze_ case in South Carolina_ request regarding                                 "Black, Laura (FHWA)"       "Maiefski, Melissa (FHWA)"    Attorney Work Product; Attorney/Client; Deliberative
DOT‐000612          DOT‐000613        allegations made related to FHWA grants                               allegations made related to FHWA grants (1).msg                                     3/31/2025 16:58 <Laura.Black@dot.gov>       <melissa.maiefski@dot.gov>    Process


                                                                                                                                                                                                                "Dupont, Bernadette (FHWA)"
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                                                                                                                                                                                                                >, "Suder, Steven (FHWA)"
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                                                                                                                                                                                                                <alison.rogers@dot.gov>,
                                      RE: New "spending freeze" case in South Carolina, request regarding   RE_ New _spending freeze_ case in South Carolina_ request regarding                                 "Black, Laura (FHWA)"       "Serody, David (FHWA)"      Attorney Work Product; Attorney/Client; Deliberative
DOT‐000614          DOT‐000617        allegations made related to FHWA grants                               allegations made related to FHWA grants (2).msg                                      4/1/2025 16:01 <Laura.Black@dot.gov>       <david.serody@dot.gov>      Process
                                                                                                                                                                                                                "Serody, David (FHWA)"
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                                      RE: New "spending freeze" case in South Carolina, request regarding   RE_ New _spending freeze_ case in South Carolina_ request regarding                                 "Black, Laura (FHWA)"       <Bernadette.Dupont@dot.gov Attorney Work Product; Attorney/Client; Deliberative
DOT‐000618          DOT‐000622        allegations made related to FHWA grants                               allegations made related to FHWA grants (3).msg                                      4/1/2025 15:55 <Laura.Black@dot.gov>       >                           Process


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                                                                                                                                                                                                                <alison.rogers@dot.gov>,
                                      RE: New "spending freeze" case in South Carolina, request regarding   RE_ New _spending freeze_ case in South Carolina_ request regarding                                 "Black, Laura (FHWA)"       "Serody, David (FHWA)"        Attorney Work Product; Attorney/Client; Deliberative
DOT‐000623          DOT‐000625        allegations made related to FHWA grants                               allegations made related to FHWA grants (4).msg                                      4/1/2025 15:52 <Laura.Black@dot.gov>       <david.serody@dot.gov>        Process
                                        2:25-cv-02152-RMG                                                   Date Filed 04/17/25                                                  Entry Number 68-1                                Page 7 of 15


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      BEGIN BATES         END BATES                                  SUBJECT                                                              FILENAME                                        DATE SENT                        TO                         FROM                          PRIVILEGE REASON



                                                                                                                                                                                                                "Suder, Steven (FHWA)"
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                                      RE: New "spending freeze" case in South Carolina, request regarding   RE_ New _spending freeze_ case in South Carolina_ request regarding                                 "Black, Laura (FHWA)"       "Serody, David (FHWA)"   Attorney Work Product; Attorney/Client; Deliberative
DOT‐000626          DOT‐000628        allegations made related to FHWA grants                               allegations made related to FHWA grants (5).msg                                      4/1/2025 15:22 <Laura.Black@dot.gov>       <david.serody@dot.gov>   Process


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                                                                                                                                                                                                                <alison.rogers@dot.gov>,
                                      RE: New "spending freeze" case in South Carolina, request regarding   RE_ New _spending freeze_ case in South Carolina_ request regarding                                 "Black, Laura (FHWA)"       "Suder, Steven (FHWA)"   Attorney Work Product; Attorney/Client; Deliberative
DOT‐000629          DOT‐000632        allegations made related to FHWA grants                               allegations made related to FHWA grants (6).msg                                      4/1/2025 15:20 <Laura.Black@dot.gov>       <steven.suder@dot.gov>   Process


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                                      RE: New "spending freeze" case in South Carolina, request regarding   RE_ New _spending freeze_ case in South Carolina_ request regarding                                 "Black, Laura (FHWA)"       "Serody, David (FHWA)"   Attorney Work Product; Attorney/Client; Deliberative
DOT‐000633          DOT‐000635        allegations made related to FHWA grants                               allegations made related to FHWA grants (7).msg                                      4/1/2025 15:16 <Laura.Black@dot.gov>       <david.serody@dot.gov>   Process


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                                      RE: New "spending freeze" case in South Carolina, request regarding   RE_ New _spending freeze_ case in South Carolina_ request regarding                                 "Black, Laura (FHWA)"       "Suder, Steven (FHWA)"   Attorney Work Product; Attorney/Client; Deliberative
DOT‐000636          DOT‐000638        allegations made related to FHWA grants                               allegations made related to FHWA grants.msg                                          4/1/2025 15:00 <Laura.Black@dot.gov>       <steven.suder@dot.gov>   Process
                                                                                                                                                                                                                "Dean, Heather (FHWA)"
                                                                                                                                                                                                                <Heather.Dean@dot.gov>,
                                                                                                                                                                                                                "Hecox, Doug (FHWA)"
                                                                                                                                                                                                                <Doug.Hecox@dot.gov>,
                                                                                                                                                                                                                "French, Maureen (FHWA)"
                                                                                                                                                                                                                <maureen.french@dot.gov>,
                                                                                                                                                                                                                "Suder, Steven (FHWA)"
                                                                                                                                                                                                                <steven.suder@dot.gov>,
                                                                                                                                                                                                                "Konove, Elissa (FHWA)"     "Buck, Darren (FHWA)"
DOT‐000639          DOT‐000642        RE: Rep. Carbajal (CA) ‐ Assistance with Pending Funding              RE_ Rep_ Carbajal (CA) ‐ Assistance with Pending Funding (1).msg                     3/4/2025 17:11 <elissa.konove@dot.gov>     <darren.buck@dot.gov>    Deliberative Process
                                        2:25-cv-02152-RMG                                                   Date Filed 04/17/25                                                  Entry Number 68-1                               Page 8 of 15


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                                                                                                                                             CIVIL NO. 2:25-cv-2152
                                                                                                                                 PRIVILEGE LOG - PROTECTED AS RESTRICTED
                                                                                                                                                 (As of 4/16/2025)

      BEGIN BATES         END BATES                                  SUBJECT                                                              FILENAME                                        DATE SENT                        TO                         FROM                            PRIVILEGE REASON
                                                                                                                                                                                                                "Buck, Darren (FHWA)"
                                                                                                                                                                                                                <darren.buck@dot.gov>,
                                                                                                                                                                                                                "Hecox, Doug (FHWA)"
                                                                                                                                                                                                                <Doug.Hecox@dot.gov>,
                                                                                                                                                                                                                "French, Maureen (FHWA)"
                                                                                                                                                                                                                <maureen.french@dot.gov>,
                                                                                                                                                                                                                "Suder, Steven (FHWA)"
                                                                                                                                                                                                                <steven.suder@dot.gov>,
                                                                                                                                                                                                                "Konove, Elissa (FHWA)"     "Dean, Heather (FHWA)"
DOT‐000643          DOT‐000646        RE: Rep. Carbajal (CA) ‐ Assistance with Pending Funding              RE_ Rep_ Carbajal (CA) ‐ Assistance with Pending Funding (2).msg                     3/4/2025 17:08 <elissa.konove@dot.gov>     <Heather.Dean@dot.gov>     Deliberative Process
                                                                                                                                                                                                                "Hecox, Doug (FHWA)"
                                                                                                                                                                                                                <Doug.Hecox@dot.gov>,
                                                                                                                                                                                                                "French, Maureen (FHWA)"
                                                                                                                                                                                                                <maureen.french@dot.gov>,
                                                                                                                                                                                                                "Suder, Steven (FHWA)"
                                                                                                                                                                                                                <steven.suder@dot.gov>,
                                                                                                                                                                                                                "Konove, Elissa (FHWA)"     "Buck, Darren (FHWA)"
DOT‐000647          DOT‐000649        RE: Rep. Carbajal (CA) ‐ Assistance with Pending Funding              RE_ Rep_ Carbajal (CA) ‐ Assistance with Pending Funding (3).msg                     3/4/2025 17:07 <elissa.konove@dot.gov>     <darren.buck@dot.gov>      Deliberative Process
                                                                                                                                                                                                                "Hecox, Doug (FHWA)"
                                                                                                                                                                                                                <Doug.Hecox@dot.gov>,
                                                                                                                                                                                                                "Buck, Darren (FHWA)"
                                                                                                                                                                                                                <darren.buck@dot.gov>,
                                                                                                                                                                                                                "Suder, Steven (FHWA)"
                                                                                                                                                                                                                <steven.suder@dot.gov>,
                                                                                                                                                                                                                "Konove, Elissa (FHWA)"     "French, Maureen (FHWA)"
DOT‐000650          DOT‐000652        RE: Rep. Carbajal (CA) ‐ Assistance with Pending Funding              RE_ Rep_ Carbajal (CA) ‐ Assistance with Pending Funding (4).msg                     3/4/2025 17:06 <elissa.konove@dot.gov>     <maureen.french@dot.gov>   Deliberative Process
                                                                                                                                                                                                                "French, Maureen (FHWA)"
                                                                                                                                                                                                                <maureen.french@dot.gov>,
                                                                                                                                                                                                                "Buck, Darren (FHWA)"
                                                                                                                                                                                                                <darren.buck@dot.gov>,
                                                                                                                                                                                                                "Suder, Steven (FHWA)"
                                                                                                                                                                                                                <steven.suder@dot.gov>,
                                                                                                                                                                                                                "Konove, Elissa (FHWA)"     "Hecox, Doug (FHWA)"
DOT‐000653          DOT‐000655        RE: Rep. Carbajal (CA) ‐ Assistance with Pending Funding              RE_ Rep_ Carbajal (CA) ‐ Assistance with Pending Funding (5).msg                     3/4/2025 16:55 <elissa.konove@dot.gov>     <Doug.Hecox@dot.gov>       Deliberative Process
                                                                                                                                                                                                                "French, Maureen (FHWA)"
                                                                                                                                                                                                                <maureen.french@dot.gov>,
                                                                                                                                                                                                                "Buck, Darren (FHWA)"
                                                                                                                                                                                                                <darren.buck@dot.gov>,
                                                                                                                                                                                                                "Suder, Steven (FHWA)"
                                                                                                                                                                                                                <steven.suder@dot.gov>,
                                                                                                                                                                                                                "Konove, Elissa (FHWA)"     "Hecox, Doug (FHWA)"
DOT‐000656          DOT‐000658        RE: Rep. Carbajal (CA) ‐ Assistance with Pending Funding              RE_ Rep_ Carbajal (CA) ‐ Assistance with Pending Funding (6).msg                     3/4/2025 16:44 <elissa.konove@dot.gov>     <Doug.Hecox@dot.gov>       Deliberative Process
                                                                                                                                                                                                                "Buck, Darren (FHWA)"
                                                                                                                                                                                                                <darren.buck@dot.gov>,
                                                                                                                                                                                                                "Hecox, Doug (FHWA)"
                                                                                                                                                                                                                <Doug.Hecox@dot.gov>,
                                                                                                                                                                                                                "French, Maureen (FHWA)"
                                                                                                                                                                                                                <maureen.french@dot.gov>,
                                                                                                                                                                                                                "Suder, Steven (FHWA)"
                                                                                                                                                                                                                <steven.suder@dot.gov>,
                                                                                                                                                                                                                "Konove, Elissa (FHWA)"     "Dean, Heather (FHWA)"
DOT‐000659          DOT‐000662        RE: Rep. Carbajal (CA) ‐ Assistance with Pending Funding              RE_ Rep_ Carbajal (CA) ‐ Assistance with Pending Funding .msg                        3/4/2025 17:12 <elissa.konove@dot.gov>     <Heather.Dean@dot.gov>     Deliberative Process
                                      RE: Rep. Langworthy (NY) Status of ATIIP Application â€“ Chautauqua   RE_ Rep_ Langworthy (NY) Status of ATIIP Application â€“ Chautauqua                                 "Suder, Steven (FHWA)"      "Guendert, Zan (FHWA)"
DOT‐000663          DOT‐000664        Lake Crossing Project [#154]                                          Lake Crossing Project _#154_ (1).msg                                                 4/2/2025 14:41 <steven.suder@dot.gov>      <zan.guendert@dot.gov>     Deliberative Process
                                                                                                                                                                                                                "Guendert, Zan (FHWA)"
                                                                                                                                                                                                                <zan.guendert@dot.gov>,
                                      RE: Rep. Langworthy (NY) Status of ATIIP Application â€“ Chautauqua   RE_ Rep_ Langworthy (NY) Status of ATIIP Application â€“ Chautauqua                                 "Suder, Steven (FHWA)"      "Buck, Darren (FHWA)"
DOT‐000665          DOT‐000666        Lake Crossing Project [#154]                                          Lake Crossing Project _#154_ (2).msg                                                 4/2/2025 14:45 <steven.suder@dot.gov>      <darren.buck@dot.gov>      Deliberative Process
                                                                                                                                                                                                                "Buck, Darren (FHWA)"
                                                                                                                                                                                                                <darren.buck@dot.gov>,
                                      RE: Rep. Langworthy (NY) Status of ATIIP Application â€“ Chautauqua   RE_ Rep_ Langworthy (NY) Status of ATIIP Application â€“ Chautauqua                                 "Suder, Steven (FHWA)"      "Guendert, Zan (FHWA)"
DOT‐000667          DOT‐000668        Lake Crossing Project [#154]                                          Lake Crossing Project _#154_ (3).msg                                                 4/2/2025 14:56 <steven.suder@dot.gov>      <zan.guendert@dot.gov>     Deliberative Process
                                      RE: Rep. Langworthy (NY) Status of ATIIP Application â€“ Chautauqua   RE_ Rep_ Langworthy (NY) Status of ATIIP Application â€“ Chautauqua                                 "Guendert, Zan (FHWA)"      "Suder, Steven (FHWA)"
DOT‐000669          DOT‐000670        Lake Crossing Project [#154]                                          Lake Crossing Project _#154_ .msg                                                    4/2/2025 13:46 <zan.guendert@dot.gov>      <steven.suder@dot.gov>     Deliberative Process

                                                                                                                                                                                                                "Biondi, Emily (FHWA)"
                                                                                                                                                                                                                <Emily.Biondi@dot.gov>,
                                                                                                                                                                                                                "Petty, Kenneth (FHWA)"
                                                                                                                                                                                                                <Kenneth.Petty@dot.gov>,    "Suder, Steven (FHWA)"
DOT‐000671          DOT‐000675        RE: Updated DOT Guidance on Competitive Grants                        RE_ Updated DOT Guidance on Competitive Grants (1).msg                              3/12/2025 18:40 HEPODs <HEPODs@dot.gov>     <steven.suder@dot.gov>     Deliberative Process
                                        2:25-cv-02152-RMG                                                        Date Filed 04/17/25                                                  Entry Number 68-1                                 Page 9 of 15


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                                                                                                                                      PRIVILEGE LOG - PROTECTED AS RESTRICTED
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      BEGIN BATES         END BATES                                  SUBJECT                                                                   FILENAME                                        DATE SENT                          TO                         FROM                             PRIVILEGE REASON
                                                                                                                                                                                                                     "Suder, Steven (FHWA)"
                                                                                                                                                                                                                     <steven.suder@dot.gov>,
                                                                                                                                                                                                                     "Neathery, Mike (FHWA)"
                                                                                                                                                                                                                     <Mike.Neathery@dot.gov>,
                                                                                                                                                                                                                     "Douwes, Christopher
                                                                                                                                                                                                                     (FHWA)"
                                                                                                                                                                                                                     <Christopher.Douwes@dot.go
                                                                                                                                                                                                                     v>, "Dupont, Bernadette
                                                                                                                                                                                                                     (FHWA)"
                                                                                                                                                                                                                     <Bernadette.Dupont@dot.gov
                                                                                                                                                                                                                     >, "Hall, Faith (FHWA)"
                                                                                                                                                                                                                     <Faith.Hall@dot.gov>, "Keiner,
                                                                                                                                                                                                                     Bronwen (FHWA)"
                                                                                                                                                                                                                     <bronwen.keiner@dot.gov>,
                                                                                                                                                                                                                     "Starks, Edward (FHWA)"
                                                                                                                                                                                                                     <edward.starks@dot.gov>,
                                                                                                                                                                                                                     "Coley, Addison (FHWA)"        "Buck, Darren (FHWA)"
DOT‐000676          DOT‐000680        RE: Updated DOT Guidance on Competitive Grants                             RE_ Updated DOT Guidance on Competitive Grants (2).msg                              3/12/2025 16:22 <addison.coley@dot.gov>        <darren.buck@dot.gov>      Deliberative Process

                                                                                                                                                                                                                     "Zawadzki, Meaghan (FHWA)"
                                                                                                                                                                                                                     <meaghan.zawadzki@dot.gov
                                                                                                                                                                                                                     >, "Richardson, Christopher
                                                                                                                                                                                                                     (FHWA)"
                                                                                                                                                                                                                     <c.richardson@dot.gov>,
                                                                                                                                                                                                                     "Fleury, Nicolle (FHWA)"
                                                                                                                                                                                                                     <Nicolle.Fleury@dot.gov>,
                                                                                                                 RE_ _Request #83_ ‐ Rep_ Carbajal (CA) ‐ Assistance with Pending                                    "Frye, Tony (FHWA)"         "French, Maureen (FHWA)"
DOT‐000681          DOT‐000683        RE: [Request #83] ‐ Rep. Carbajal (CA) ‐ Assistance with Pending Funding   Funding (1).msg                                                                     3/18/2025 15:19 <tony.frye@dot.gov>         <maureen.french@dot.gov>      Deliberative Process

                                                                                                                                                                                                                     "French, Maureen (FHWA)"
                                                                                                                                                                                                                     <maureen.french@dot.gov>,
                                                                                                                                                                                                                     "Zawadzki, Meaghan (FHWA)"
                                                                                                                                                                                                                     <meaghan.zawadzki@dot.gov
                                                                                                                                                                                                                     >, "Richardson, Christopher
                                                                                                                                                                                                                     (FHWA)"
                                                                                                                                                                                                                     <c.richardson@dot.gov>,
                                                                                                                 RE_ _Request #83_ ‐ Rep_ Carbajal (CA) ‐ Assistance with Pending                                    "Fleury, Nicolle (FHWA)"    "Frye, Tony (FHWA)"
DOT‐000684          DOT‐000687        RE: [Request #83] ‐ Rep. Carbajal (CA) ‐ Assistance with Pending Funding   Funding (2).msg                                                                     3/18/2025 15:53 <Nicolle.Fleury@dot.gov>    <tony.frye@dot.gov>        Deliberative Process
                                                                                                                                                                                                                     "French, Maureen (FHWA)"
                                                                                                                                                                                                                     <maureen.french@dot.gov>,
                                                                                                                                                                                                                     "Richardson, Christopher
                                                                                                                                                                                                                     (FHWA)"
                                                                                                                                                                                                                     <c.richardson@dot.gov>,     "Zawadzki, Meaghan (FHWA)"
                                                                                                                 RE_ _Request #83_ ‐ Rep_ Carbajal (CA) ‐ Assistance with Pending                                    "Fleury, Nicolle (FHWA)"    <meaghan.zawadzki@dot.gov
DOT‐000688          DOT‐000690        RE: [Request #83] ‐ Rep. Carbajal (CA) ‐ Assistance with Pending Funding   Funding .msg                                                                        3/10/2025 13:52 <Nicolle.Fleury@dot.gov>    >                          Deliberative Process
DOT‐000691          DOT‐000705                                                                                   RI TRO Notice.pdf                                                                                                                                          Attorney Work Product; Attorney/Client
                                                                                                                                                                                                                     "Buck, Darren (FHWA)"
                                                                                                                                                                                                                     <darren.buck@dot.gov>,
                                      Re: Follow up re: List in response to S1 memo implementing the             Re Follow up re List in response to S1 memo implementing the                                        "Suder, Steven (FHWA)"      "Schaftlein, Shari (FHWA)"
DOT‐000706          DOT‐000708        President's Executive Orders                                               President's Executive Orders.msg                                                     3/6/2025 14:58 <steven.suder@dot.gov>      <Shari.Schaftlein@dot.gov> Deliberative Process

                                                                                                                                                                                                                     "Buck, Darren (FHWA)"
                                                                                                                                                                                                                     <darren.buck@dot.gov>,
                                                                                                        Re_ ACTION_ FW_ OST‐P Data Request due 9_30AM EST Wednesday_                                                 "Schaftlein, Shari (FHWA)"   "Suder, Steven (FHWA)"
DOT‐000709          DOT‐000711        Re: ACTION: FW: OST‐P Data Request due 9:30AM EST Wednesday, 3/26 3_26 (1).msg                                                                                 3/25/2025 18:02 <Shari.Schaftlein@dot.gov>   <steven.suder@dot.gov>       Deliberative Process
                                                                                                                                                                                                                     "Buck, Darren (FHWA)"
                                                                                                                                                                                                                     <darren.buck@dot.gov>,
                                      Re: Follow up re: List in response to S1 memo implementing the             Re_ Follow up re_ List in response to S1 memo implementing the                                      "Suder, Steven (FHWA)"       "Schaftlein, Shari (FHWA)"
DOT‐000712          DOT‐000714        President's Executive Orders                                               President's Executive Orders.msg                                                     3/6/2025 14:58 <steven.suder@dot.gov>       <Shari.Schaftlein@dot.gov>   Deliberative Process
                                                                                                                                                                                                                     "Buck, Darren (FHWA)"
                                                                                                                                                                                                                     <darren.buck@dot.gov>,
                                                                                                                                                                                                                     "Suder, Steven (FHWA)"
                                                                                                                                                                                                                     <steven.suder@dot.gov>,
                                                                                                                                                                                                                     "Konove, Elissa (FHWA)"
                                                                                                                                                                                                                     <elissa.konove@dot.gov>,
                                                                                                                                                                                                                     "Hecox, Doug (FHWA)"         "French, Maureen (FHWA)"
DOT‐000715          DOT‐000716        Rep. Carbajal (CA) ‐ Assistance with Pending Funding                       Rep_ Carbajal (CA) ‐ Assistance with Pending Funding .msg                            3/4/2025 15:47 <Doug.Hecox@dot.gov>         <maureen.french@dot.gov>     Deliberative Process
                                                                                                                                                                                                                     "Shaw, Alla (FHWA)"          "Buck, Darren (FHWA)"
DOT‐000717          DOT‐000717        language on discretionary grant awards pause                               language on discretionary grant awards pause.msg                                    2/25/2025 20:42 <Alla.Shaw@dot.gov>          <darren.buck@dot.gov>        Deliberative Process
                                       2:25-cv-02152-RMG                                                   Date Filed 04/17/25                                                Entry Number 68-1                                  Page 10 of 15


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      BEGIN BATES         END BATES                                     SUBJECT                                                          FILENAME                                        DATE SENT                          TO                          FROM                               PRIVILEGE REASON
                                                                                                                                                                                                               "Knopp, Martin (FHWA)"
                                                                                                                                                                                                               <Martin.Knopp@dot.gov>,
                                                                                                                                                                                                               "Biondi, Emily (FHWA)"
                                                                                                                                                                                                               <Emily.Biondi@dot.gov>,
                                                                                                                                                                                                               "Kalla, Hari (FHWA)"
                                                                                                                                                                                                               <Hari.Kalla@dot.gov>, "Ritter,
                                                                                                                                                                                                               Robert (FHWA)"
                                                                                                                                                                                                               <Robert.Ritter@dot.gov>,
                                                                                                                                                                                                               "Fouch, Brian (FHWA)"
                                                                                                                                                                                                               <Brian.Fouch@dot.gov>,
                                                                                                                                                                                                               "Hartmann, Joey (FHWA)"
                                                                                                                                                                                                               <Joey.Hartmann@dot.gov>,
                                                                                                           ACTION_ Discretionary Grant and Cooperative Agreement Data                                          "Baker, Shana (FHWA)"          "Finfrock, Arlan (FHWA)"
DOT‐000718          DOT‐000720        ACTION: Discretionary Grant and Cooperative Agreement Data Request   Request.msg                                                                         3/12/2025 22:02 <Shana.Baker@dot.gov>          <Arlan.Finfrock@dot.gov>   Attorney/Client; Deliberative Process

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                                                                                                                                                                                                               <CFOSLISTCORE@dot.gov>;
                                                                                                                                                                                                               Associate Administrators for
                                                                                                                                                                                                               Administration
                                                                                                                                                                                                               <AssociateAdministratorsforA Hubbard, Rhea (OST)
DOT‐000721          DOT‐000722                                                                             OST‐M_Memo.pdf                                                                      3/11/2025 11:48 dministration@dot.gov>       <rhea.hubbard@dot.gov>       Deliberative Process
                                                                                                                                                                                                                                            Smith, Loren (OST)
DOT‐000723          DOT‐000725                                                                             OST‐P_Memo.pdf                                                                      3/11/2025 15:06                              <loren.smith@dot.gov>        Deliberative Process
DOT‐000726          DOT‐000726                                                                             OST_EO_Grant_and_Coop_Agreement_Review.xlsm                                                                                                                   Deliberative Process

DOT‐000727          DOT‐000727                                                                             Copy of March 2025 Competitive Grants Review Workbook3.14.205.xlsm                                                                                            Deliberative Process
DOT‐000728          DOT‐000728                                                                             Disc Grants Status w FY26 v3.2.xlsx                                                                                                                           Deliberative Process
DOT‐000729          DOT‐000729                                                                             Disc Grants Status w FY26‐V4_02032025.xlsx                                                                                                                    Deliberative Process
                                                                                                                                                                                                               "Payne, Jay (FHWA)"
                                                                                                                                                                                                               <jay.payne@dot.gov>,
                                                                                                                                                                                                               "Richardson, Christopher
                                                                                                                                                                                                               (FHWA)"
                                                                                                                                                                                                               <c.richardson@dot.gov>,
                                                                                                                                                                                                               "Fleury, Nicolle (FHWA)"
                                                                                                                                                                                                               <Nicolle.Fleury@dot.gov>,
                                                                                                                                                                                                               "Shaw, Alla (FHWA)"
                                                                                                                                                                                                               <Alla.Shaw@dot.gov>,
                                                                                                                                                                                                               "Sleeter, Adam (FHWA)"
                                                                                                                                                                                                               <adam.sleeter@dot.gov>,
                                                                                                                                                                                                               "Hardiman‐Tobin, Gloria
                                                                                                                                                                                                               (FHWA)" <Gloria.Hardiman‐     "Harkins, Michael (FHWA)"
DOT‐000730          DOT‐000731        Discretionary Grants Activities                                      Discretionary Grants Activities.msg                                                 1/31/2025 16:23 Tobin@dot.gov>                <Michael.Harkins@dot.gov>   Attorney/Client
                                                                                                           FHWA_GMD_Program_Manager_Roundtable__Pause_Questions_HCC_dr
DOT‐000732          DOT‐000734                                                                             aft_answers__01.23.2025_with_Recs_.docx                                                                                                                       Attorney/Client; Deliberative Process
DOT‐000735          DOT‐000736                                                                             OMB_Memo_M‐25‐13.pdf                                                                                                                                          Deliberative Process

                                                                                                                                                                                                                                             "Harkins, Michael (FHWA)"
DOT‐000737          DOT‐000738        Discretionary Grants Activities                                      unnamed                                                                                                                           <Michael.Harkins@dot.gov>   Attorney/Client
DOT‐000739          DOT‐000739                                                                             EPW Grant Status 2025.01.28 v2.xlsx                                                                                                                           Deliberative Process
DOT‐000740          DOT‐000747                                                                             FHWA Discretionary Grants.2‐11‐25.docx                                                                                                                        Deliberative Process
                                                                                                           FHWA submission for March 2025 Competitive Grants Review
DOT‐000748          DOT‐000748                                                                             Workbook_03.27.2025.xlsm                                                                                                                                      Deliberative Process


                                                                                                                                                                                                               "Hogge, Brian (FHWA)"
                                                                                                                                                                                                               <Brian.Hogge@dot.gov>,
                                                                                                                                                                                                               "Stephanos, Peter (FHWA)"
                                                                                                                                                                                                               <Peter.Stephanos@dot.gov>,
                                      FW: [Action requested by March 24, 2025] Review of existing          FW Action requested by March 24 2025 Review of existing discretionary                               "Burrows, Shay (FHWA)"     "Kalla, Hari (FHWA)"
DOT‐000749          DOT‐000751        discretionary grant award agreements                                 grant award agreements.msg                                                          3/11/2025 16:37 <Shay.Burrows@dot.gov>     <Hari.Kalla@dot.gov>           Attorney/Client; Deliberative Process
DOT‐000752          DOT‐000752                                                                             EO_14222_discretionary_grants_review_data_call_031125.xlsm                                                                                                    Attorney/Client; Deliberative Process


                                                                                                                                                                                                               "Solter, Michael (FHWA)"
                                                                                                                                                                                                               <michael.solter@dot.gov>,
                                                                                                                                                                                                               "Smith, Egan (FHWA)"
                                                                                                                                                                                                               <egan.smith@dot.gov>,
                                                                                                                                                                                                               "Nylen, Ashley (OST)"
                                                                                                                                                                                                               <ashley.nylen@dot.gov>,
                                      FW: ACTION: Discretionary Grant and Cooperative Agreement Data       FW_ ACTION_ Discretionary Grant and Cooperative Agreement Data                                      "Zlotchenko, Elina (FHWA)"    "Cronin, Brian (FHWA)"
DOT‐000753          DOT‐000755        Request                                                              Request (2).msg                                                                     3/13/2025 12:35 <elina.zlotchenko@dot.gov>    <Brian.Cronin@dot.gov>      Deliberative Process

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                                                                                                                                                                                                               Associate Administrators for
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                                                                                                                                                                                                               <AssociateAdministratorsforA Hubbard, Rhea (OST)
DOT‐000756          DOT‐000757                                                                             OST‐M_Memo.pdf                                                                      3/11/2025 11:48 dministration@dot.gov>       <rhea.hubbard@dot.gov>       Deliberative Process
                                      2:25-cv-02152-RMG                                                Date Filed 04/17/25                                               Entry Number 68-1                                  Page 11 of 15


                                                                                                                            The Sustainability Institute, et al. v. Trump, et al.
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      BEGIN BATES         END BATES                                 SUBJECT                                                         FILENAME                                        DATE SENT                          TO                          FROM                             PRIVILEGE REASON
                                                                                                                                                                                                                                        Smith, Loren (OST)
DOT‐000758          DOT‐000760                                                                         OST‐P_Memo.pdf                                                                     3/11/2025 15:06                               <loren.smith@dot.gov>       Deliberative Process
DOT‐000761          DOT‐000761                                                                         OST_EO_Grant_and_Coop_Agreement_Review.xlsm                                                                                                                  Deliberative Process

                                      FW: ACTION: Discretionary Grant and Cooperative Agreement Data   FW_ ACTION_ Discretionary Grant and Cooperative Agreement Data                                     "Shaw, Alla (FHWA)"           "Harkins, Michael (FHWA)"
DOT‐000762          DOT‐000764        Request                                                          Request (3).msg                                                                    3/12/2025 22:08 <Alla.Shaw@dot.gov>           <Michael.Harkins@dot.gov>   Attorney/Client; Deliberative Process

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                                                                                                                                                                                                          <CFOSLISTCORE@dot.gov>;
                                                                                                                                                                                                          Associate Administrators for
                                                                                                                                                                                                          Administration
                                                                                                                                                                                                          <AssociateAdministratorsforA Hubbard, Rhea (OST)
DOT‐000765          DOT‐000766                                                                         OST‐M_Memo.pdf                                                                     3/11/2025 11:48 dministration@dot.gov>       <rhea.hubbard@dot.gov>       Deliberative Process
                                                                                                                                                                                                                                       Smith, Loren (OST)
DOT‐000767          DOT‐000769                                                                         OST‐P_Memo.pdf                                                                     3/11/2025 15:06                              <loren.smith@dot.gov>        Deliberative Process
DOT‐000770          DOT‐000770                                                                         OST_EO_Grant_and_Coop_Agreement_Review.xlsm                                                                                                                  Deliberative Process
                                                                                                                                                                                                          "Villalobos, David (FHWA)"
                                                                                                                                                                                                          <david.villalobos@dot.gov>,
                                                                                                                                                                                                          "Black, Laura (FHWA)"
                                                                                                                                                                                                          <Laura.Black@dot.gov>,
                                                                                                                                                                                                          "Rogers, Alison (FHWA)"
                                                                                                                                                                                                          <alison.rogers@dot.gov>,
                                                                                                                                                                                                          "Burnell, Tamiko (FHWA)"
                                                                                                                                                                                                          <Tamiko.Burnell@dot.gov>,
                                                                                                                                                                                                          "Walters, Joan (FHWA)"        "Finfrock, Arlan (FHWA)"
DOT‐000771          DOT‐000774        FW: Competitive Grant Update for March 20                        FW_ Competitive Grant Update for March 20 (1).msg                                  3/20/2025 20:14 <Joan.Walters@dot.gov>        <Arlan.Finfrock@dot.gov>    Deliberative Process
                                                                                                                                                                                                          "Harkins, Michael (FHWA)"
                                                                                                                                                                                                          <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                          "Richardson, Christopher
                                                                                                                                                                                                          (FHWA)"                       "Fleury, Nicolle (FHWA)"
DOT‐000775          DOT‐000778        FW: Competitive Grant Update for March 20                        FW_ Competitive Grant Update for March 20.msg                                      3/20/2025 20:23 <c.richardson@dot.gov>        <Nicolle.Fleury@dot.gov>    Attorney/Client; Deliberative Process
                                                                                                                                                                                                          "Fleury, Nicolle (FHWA)"
                                                                                                                                                                                                          <Nicolle.Fleury@dot.gov>,
                                                                                                                                                                                                          "Harkins, Michael (FHWA)"
                                                                                                                                                                                                          <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                          "Richardson, Christopher
                                                                                                                                                                                                          (FHWA)"                       "Huynh, Juli (OST)"
DOT‐000779          DOT‐000780        FW: DOT Guidance on Competitive Grants                           FW_ DOT Guidance on Competitive Grants.msg                                         3/14/2025 12:57 <c.richardson@dot.gov>        <Juli.Huynh@dot.gov>        Attorney/Client; Deliberative Process
DOT‐000781          DOT‐000783        FW: DOT Guidance on Competitive Grants                           unnamed                                                                                                                          Juli.Huynh@dot.gov          Attorney/Client; Deliberative Process

                                                                                                                                                                                                          "Shepherd, Gloria (FHWA)"     "Payne, Jay (FHWA)"
DOT‐000784          DOT‐000786        FW: DOT Guidance on Discretionary Grants                         FW_ DOT Guidance on Discretionary Grants (1).msg                                   2/14/2025 23:33 <Gloria.Shepherd@dot.gov>     <jay.payne@dot.gov>         Attorney/Client; Deliberative Process
                                                                                                                                                                                                          "Richardson, Christopher
                                                                                                                                                                                                          (FHWA)"                       "Payne, Jay (FHWA)"
DOT‐000787          DOT‐000789        FW: Discretionary Grant Agreement and NEPA Documents             FW_ Discretionary Grant Agreement and NEPA Documents.msg                           2/25/2025 19:24 <c.richardson@dot.gov>        <jay.payne@dot.gov>         Deliberative Process
                                                                                                                                                                                                          "Harkins, Michael (FHWA)"
                                                                                                                                                                                                          <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                          "Richardson, Christopher
                                                                                                                                                                                                          (FHWA)"
                                                                                                                                                                                                          <c.richardson@dot.gov>,
                                                                                                                                                                                                          "Shaw, Alla (FHWA)"           "Fleury, Nicolle (FHWA)"
DOT‐000790          DOT‐000793        FW: INFORMATION: OST Discretionary Grant Guidance                FW_ INFORMATION_ OST Discretionary Grant Guidance.msg                              2/19/2025 14:02 <Alla.Shaw@dot.gov>           <Nicolle.Fleury@dot.gov>    Attorney/Client; Deliberative Process
                                                                                                                                                                                                          "Harkins, Michael (FHWA)"
                                                                                                                                                                                                          <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                          "Richardson, Christopher
                                                                                                                                                                                                          (FHWA)"                       "Shaw, Alla (FHWA)"
DOT‐000794          DOT‐000794        FW: Notes from EPW Call                                          FW_ Notes from EPW Call.msg                                                        1/28/2025 17:58 <c.richardson@dot.gov>        <Alla.Shaw@dot.gov>         Attorney/Client; Deliberative Process
DOT‐000795          DOT‐000795                                                                         EPW_Grant_Status_2025.01.28_v2.xlsx                                                                                                                          Deliberative Process
                                                                                                                                                                                                          "Finfrock, Arlan (FHWA)"
                                                                                                                                                                                                          <Arlan.Finfrock@dot.gov>,
                                                                                                                                                                                                          "Bezio, Brian (FHWA)"         "Shepherd, Gloria (FHWA)"
DOT‐000796          DOT‐000796        FW: Preview ‐ DOT Guidance on Competitive Grants                 FW_ Preview ‐ DOT Guidance on Competitive Grants.msg                               3/18/2025 13:37 <Brian.Bezio@dot.gov>         <Gloria.Shepherd@dot.gov>   Attorney/Client; Deliberative Process
                                                                                                       Copy_of_March_2025_Competitive_Grants_Review_Workbook3.14.205.
DOT‐000797          DOT‐000797                                                                         xlsm                                                                                                                                                         Attorney/Client; Deliberative Process
                                                                                                                                                                                                                                        "Richardson, Christopher
                                                                                                                                                                                                          "Harkins, Michael (FHWA)"     (FHWA)"
DOT‐000798          DOT‐000799        FW: UPDATE: Pause on Federal Financial Assistance                FW_ UPDATE_ Pause on Federal Financial Assistance.msg                              1/29/2025 19:29 <Michael.Harkins@dot.gov>     <c.richardson@dot.gov>      Attorney/Client; Deliberative Process
DOT‐000800          DOT‐000800                                                                         M‐25‐14_Final.pdf                                                                                                                                            Deliberative Process
DOT‐000801          DOT‐000802                                                                         OMB_Memo_M‐25‐13.pdf                                                                                                                                         Deliberative Process

                                                                                                                                                                                                          "Richardson, Christopher
                                                                                                                                                                                                          (FHWA)"
                                                                                                                                                                                                          <c.richardson@dot.gov>,
                                                                                                                                                                                                          "Harkins, Michael (FHWA)"     "Fleury, Nicolle (FHWA)"
DOT‐000803          DOT‐000806        FW: Updated DOT Guidance on Competitive Grants                   FW_ Updated DOT Guidance on Competitive Grants (1).msg                             3/11/2025 19:07 <Michael.Harkins@dot.gov>     <Nicolle.Fleury@dot.gov>    Attorney/Client; Deliberative Process

                                                                                                                                                                                                          "Hines, LaToya (FHWA)"        "Shepherd, Gloria (FHWA)"
DOT‐000807          DOT‐000811        FW: Updated DOT Guidance on Competitive Grants                   FW_ Updated DOT Guidance on Competitive Grants.msg                                 3/24/2025 13:51 <latoya.hines@dot.gov>        <Gloria.Shepherd@dot.gov>   Deliberative Process
DOT‐000812          DOT‐000812                                                                         March_2025_Competitive_Grants_Review_Workbook.xlsm                                                                                                           Deliberative Process
                                      2:25-cv-02152-RMG                                                     Date Filed 04/17/25                                               Entry Number 68-1                                 Page 12 of 15


                                                                                                                                 The Sustainability Institute, et al. v. Trump, et al.
                                                                                                                                            CIVIL NO. 2:25-cv-2152
                                                                                                                                PRIVILEGE LOG - PROTECTED AS RESTRICTED
                                                                                                                                                (As of 4/16/2025)

      BEGIN BATES         END BATES                                 SUBJECT                                                              FILENAME                                        DATE SENT                         TO                          FROM                             PRIVILEGE REASON

                                                                                                                                                                                                               "Baker, Shana (FHWA)"        "Shepherd, Gloria (FHWA)"
DOT‐000813          DOT‐000816        Fw: DOT Guidance on Discretionary Grants                              Fw_ DOT Guidance on Discretionary Grants.msg                                       2/14/2025 23:42 <Shana.Baker@dot.gov>        <Gloria.Shepherd@dot.gov>   Deliberative Process

                                                                                                            Fw_ DUE DATE Noon March 19_ Program Manager Roundtable_ OST EO
                                      Fw: DUE DATE Noon March 19: Program Manager Roundtable: OST EO        Grant and Cooperative Agreement Review ‐ PPT and Update Excel She                                  "Harkins, Michael (FHWA)"    "Stephanos, Peter (FHWA)"
DOT‐000817          DOT‐000820        Grant and Cooperative Agreement Review ‐ PPT and Update Excel Sheet   (3).msg                                                                            3/14/2025 13:43 <Michael.Harkins@dot.gov>    <Peter.Stephanos@dot.gov>   Attorney/Client; Deliberative Process


                                                                                                                                                                                                               "Hogge, Brian (FHWA)"
                                                                                                                                                                                                               <Brian.Hogge@dot.gov>,
                                                                                                                                                                                                               "Stephanos, Peter (FHWA)"
                                                                                                                                                                                                               <Peter.Stephanos@dot.gov>,
                                      FW: [Action requested by March 24, 2025] Review of existing           FW:_[Action_requested_by_March_24,_2025]_Review_of_existing_discr                                  "Burrows, Shay (FHWA)"     "Kalla, Hari (FHWA)"
DOT‐000821          DOT‐000823        discretionary grant award agreements                                  etionary_grant_award_agreements.eml                                                3/11/2025 16:37 <Shay.Burrows@dot.gov>     <Hari.Kalla@dot.gov>          Deliberative Process
DOT‐000824          DOT‐000824                                                                              EO_14222_discretionary_grants_review_data_call_031125.xlsm                                                                                                  Deliberative Process
DOT‐000825          DOT‐000828                                                                              OST_Data_Request_Instructions_(003).pptx                                                                                                                    Deliberative Process
DOT‐000829          DOT‐000829                                                                              OST_EO_Grant_and_Cooperative_Agreement_Review_.xlsm                                                                                                         Deliberative Process
                                                                                                                                                                                                               "Harkins, Michael (FHWA)"
                                                                                                                                                                                                               <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                               "Shaw, Alla (FHWA)"          "Fleury, Nicolle (FHWA)"
DOT‐000830          DOT‐000834        Fw: Updated DOT Guidance on Competitive Grants                        Fw_ Updated DOT Guidance on Competitive Grants (5).msg                             3/24/2025 13:31 <Alla.Shaw@dot.gov>          <Nicolle.Fleury@dot.gov>    Attorney/Client; Deliberative Process
DOT‐000835          DOT‐000835                                                                              March_2025_Competitive_Grants_Review_Workbook.xlsm                                                                                                          Deliberative Process

                                      Fw: Updated DOT Guidance on Competitive Grants ‐ FHWA Response to     Fw_ Updated DOT Guidance on Competitive Grants ‐ FHWA Response to                                  "Shepherd, Gloria (FHWA)"    "Finfrock, Arlan (FHWA)"
DOT‐000836          DOT‐000841        OST's Data Request on New Grant Agreements                            OST's Data Request on New Grant Agreements .msg                                     4/8/2025 15:15 <Gloria.Shepherd@dot.gov>    <Arlan.Finfrock@dot.gov>    Deliberative Process
                                                                                                            FHWA_submission_for_March_2025_Competitive_Grants_Review_Work
DOT‐000842          DOT‐000842                                                                              book_03.27.2025.xlsm                                                                                                                                        Deliberative Process

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                                                                                                                                                                                                               OfficialMailbox <FHWA‐
                                                                                                                                                                                                               LeadershipTeam‐
                                                                                                                                                                                                               OfficialMailbox@dot.gov>,
                                                                                                                                                                                                               "FHWA‐#Leadership Team‐
                                                                                                                                                                                                               PersonalMailbox" <FHWA‐
                                                                                                                                                                                                               LeadershipTeam‐              "Baker, Shana (FHWA)"
DOT‐000843          DOT‐000846        INFORMATION: OST Discretionary Grant Guidance                         INFORMATION_ OST Discretionary Grant Guidance.msg                                  2/19/2025 13:44 PersonalMailbox@dot.gov>     <Shana.Baker@dot.gov>       Deliberative Process
DOT‐000847          DOT‐000847                                                                              OST EO Grant and Coop Agreement Review.xlsm                                                                                                                 Deliberative Process
                                                                                                                                                                                                               "Rusnak, Allison (FHWA)"     "Guendert, Zan (FHWA)"
DOT‐000848          DOT‐000849        RE: Discretionary Grant Agreement and NEPA Documents                  RE Discretionary Grant Agreement and NEPA Documents.msg                            2/25/2025 14:50 <Allison.Rusnak@dot.gov>     <zan.guendert@dot.gov>      Deliberative Process
                                                                                                                                                                                                               "Finfrock, Arlan (FHWA)"     "Burnell, Tamiko (FHWA)"
DOT‐000850          DOT‐000854        RE: Competitive Grant Update for March 21                             RE_ Competitive Grant Update for March 21 (1).msg                                  3/21/2025 19:00 <Arlan.Finfrock@dot.gov>     <Tamiko.Burnell@dot.gov>    Attorney/Client; Deliberative Process
                                                                                                                                                                                                               "Finfrock, Arlan (FHWA)"     "Burnell, Tamiko (FHWA)"
DOT‐000855          DOT‐000858        RE: Competitive Grant Update for March 21                             RE_ Competitive Grant Update for March 21 (2).msg                                  3/21/2025 18:07 <Arlan.Finfrock@dot.gov>     <Tamiko.Burnell@dot.gov>    Attorney/Client; Deliberative Process
                                                                                                                                                                                                               "Burnell, Tamiko (FHWA)"     "Finfrock, Arlan (FHWA)"
DOT‐000859          DOT‐000863        RE: Competitive Grant Update for March 21                             RE_ Competitive Grant Update for March 21.msg                                      3/21/2025 19:28 <Tamiko.Burnell@dot.gov>     <Arlan.Finfrock@dot.gov>    Deliberative Process

                                                                                                                                                                                                               "Baker, Shana (FHWA)"        "Shepherd, Gloria (FHWA)"
DOT‐000864          DOT‐000867        RE: INFORMATION: OST Discretionary Grant Guidance                     RE_ INFORMATION_ OST Discretionary Grant Guidance.msg                              2/19/2025 13:54 <Shana.Baker@dot.gov>        <Gloria.Shepherd@dot.gov>   Deliberative Process

                                                                                                                                                                                                               "Knopp, Martin (FHWA)"
                                                                                                                                                                                                               <Martin.Knopp@dot.gov>,
                                                                                                                                                                                                               "Kalla, Hari (FHWA)"
                                                                                                                                                                                                               <Hari.Kalla@dot.gov>,
                                                                                                                                                                                                               "Finfrock, Arlan (FHWA)"
                                                                                                                                                                                                               <Arlan.Finfrock@dot.gov>,
                                                                                                                                                                                                               "Bezio, Brian (FHWA)"
                                                                                                                                                                                                               <Brian.Bezio@dot.gov>,
                                                                                                                                                                                                               "Biondi, Emily (FHWA)"
                                                                                                                                                                                                               <Emily.Biondi@dot.gov>,
                                                                                                                                                                                                               "Fleury, Nicolle (FHWA)"
                                                                                                                                                                                                               <Nicolle.Fleury@dot.gov>,
                                                                                                                                                                                                               "Baker, Shana (FHWA)"
                                                                                                                                                                                                               <Shana.Baker@dot.gov>,
                                                                                                                                                                                                               "Richardson, Christopher
                                                                                                                                                                                                               (FHWA)"
                                                                                                                                                                                                               <c.richardson@dot.gov>,
                                                                                                                                                                                                               "Harkins, Michael (FHWA)"    "Shepherd, Gloria (FHWA)"
DOT‐000868          DOT‐000871        RE: Updated DOT Guidance on Competitive Grants                        RE_ Updated DOT Guidance on Competitive Grants (2).msg                             3/12/2025 12:42 <Michael.Harkins@dot.gov>    <Gloria.Shepherd@dot.gov>   Attorney/Client; Deliberative Process
                                      2:25-cv-02152-RMG                                                     Date Filed 04/17/25                                               Entry Number 68-1                                 Page 13 of 15


                                                                                                                                 The Sustainability Institute, et al. v. Trump, et al.
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      BEGIN BATES         END BATES                                 SUBJECT                                                              FILENAME                                        DATE SENT                         TO                          FROM                              PRIVILEGE REASON



                                                                                                                                                                                                               HPLS‐10 <HPLS‐10@dot.gov>,
                                                                                                                                                                                                               "Dean, Heather (FHWA)"
                                                                                                                                                                                                               <Heather.Dean@dot.gov>,
                                                                                                                                                                                                               "Lomax, Brian (FHWA)"
                                                                                                                                                                                                               <Brian.Lomax@dot.gov>,
                                                                                                                                                                                                               "Guendert, Zan (FHWA)"
                                                                                                                                                                                                               <zan.guendert@dot.gov>,
                                                                                                                                                                                                               "French, Maureen (FHWA)"
                                                                                                                                                                                                               <maureen.french@dot.gov>,
                                                                                                                                                                                                               "Harkins, Michael (FHWA)"
                                                                                                                                                                                                               <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                               "Hardiman‐Tobin, Gloria
                                                                                                                                                                                                               (FHWA)" <Gloria.Hardiman‐
                                                                                                                                                                                                               Tobin@dot.gov>, "Vaughn‐
                                                                                                                                                                                                               Fair, Sharon (FHWA)"
                                                                                                                                                                                                               <Sharon.Vaughn‐
                                                                                                                                                                                                               Fair@dot.gov>, "Horan, Dawn
                                                                                                                                                                                                               (FHWA)"
                                                                                                                                                                                                               <Dawn.M.Horan@dot.gov>,
                                                                                                                                                                                                               "Sleeter, Adam (FHWA)"
                                                                                                                                                                                                               <adam.sleeter@dot.gov>,     "Zawadzki, Meaghan (FHWA)"
                                      RE: [HCC/HPL Coordination] FW: [Response by 10:00am Tuesday, March    RE_ _HCC_HPL Coordination_ FW_ _Response by 10_00am Tuesday_                                       "Gabrilovich, Lev (FHWA)"   <meaghan.zawadzki@dot.gov
DOT‐000872          DOT‐000873        11th] "Just the Facts" Sheets for Upcoming Hearings                   March 11th_ _Just the Facts_ Sheets for Upcoming Hearings.msg                       3/7/2025 20:48 <lev.gabrilovich@dot.gov>   >                          Attorney/Client; Deliberative Process

                                      Re: Discretionary Grant Overview and Guidelines for NOFOs Under the   Re_ Discretionary Grant Overview and Guidelines for NOFOs Under the                                "Baker, Shana (FHWA)"        "Shepherd, Gloria (FHWA)"
DOT‐000874          DOT‐000875        Biden Administration                                                  Biden Administration .msg                                                           2/6/2025 23:19 <Shana.Baker@dot.gov>        <Gloria.Shepherd@dot.gov>    Deliberative Process
                                                                                                                                                                                                               "Shepherd, Gloria (FHWA)"
                                                                                                                                                                                                               <Gloria.Shepherd@dot.gov>,
                                                                                                                                                                                                               "Bezio, Brian (FHWA)"        "Finfrock, Arlan (FHWA)"
DOT‐000876          DOT‐000876        Re: Preview ‐ DOT Guidance on Competitive Grants                      Re_ Preview ‐ DOT Guidance on Competitive Grants (4).msg                           3/18/2025 13:39 <Brian.Bezio@dot.gov>        <Arlan.Finfrock@dot.gov>     Attorney/Client; Deliberative Process
                                                                                                                                                                                                               "Finfrock, Arlan (FHWA)"
                                                                                                                                                                                                               <Arlan.Finfrock@dot.gov>,
                                                                                                                                                                                                               "Bezio, Brian (FHWA)"        "Shepherd, Gloria (FHWA)"
DOT‐000877          DOT‐000877        Re: Preview ‐ DOT Guidance on Competitive Grants                      Re_ Preview ‐ DOT Guidance on Competitive Grants.msg                               3/18/2025 13:57 <Brian.Bezio@dot.gov>        <Gloria.Shepherd@dot.gov>    Attorney/Client; Deliberative Process

                                                                                                                                                                                                               "Payne, Jay (FHWA)"          "Shepherd, Gloria (FHWA)"
DOT‐000878          DOT‐000881        Re: Updated DOT Guidance on Competitive Grants                        Re_ Updated DOT Guidance on Competitive Grants.msg                                 3/11/2025 23:42 <jay.payne@dot.gov>
                                                                                                                                                                                                                Hines, LaToya (FHWA)        <Gloria.Shepherd@dot.gov>    Attorney/Client; Deliberative Process
                                                                                                                                                                                                               <latoya.hines@dot.gov>,
                                                                                                                                                                                                               "Shepherd, Gloria (FHWA)"
                                                                                                                                                                                                               <Gloria.Shepherd@dot.gov>,
                                                                                                                                                                                                               "Baker, Shana (FHWA)"
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                                                                                                                                                                                                               "Bezio, Brian (FHWA)"
                                                                                                                                                                                                               <Brian.Bezio@dot.gov>,
                                                                                                                                                                                                               "Burnell, Tamiko (FHWA)"
                                                                                                                                                                                                               <Tamiko.Burnell@dot.gov>,
                                                                                                                                                                                                               "Rusnak, Allison (FHWA)"
                                                                                                                                                                                                               <Allison.Rusnak@dot.gov>,
                                                                                                                                                                                                               "Biondi, Emily (FHWA)"
                                                                                                                                                                                                               <Emily.Biondi@dot.gov>,
                                                                                                                                                                                                               "Kalla, Hari (FHWA)"
                                                                                                                                                                                                               <Hari.Kalla@dot.gov>, "Kohr,
                                                                                                                                                                                                               Todd (FHWA)"
                                                                                                                                                                                                               <todd.kohr@dot.gov>,
                                                                                                                                                                                                               "Richardson, Christopher
                                                                                                                                                                                                               (FHWA)"
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                                                                                                                                                                                                               "Harkins, Michael (FHWA)"
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                                                                                                                                                                                                               "Fleury, Nicolle (FHWA)"
                                                                                                                                                                                                               <Nicolle.Fleury@dot.gov>,    "Payne, Jay (FHWA)"
DOT‐000882          DOT‐000885        Updated DOT Guidance on Competitive Grants                            Updated DOT Guidance on Competitive Grants (3).msg                                 3/12/2025 14:23 "Frye, Tony (FHWA)"          <jay.payne@dot.gov>          Deliberative Process
DOT‐000886          DOT‐000886                                                                              Disc_Grants_Status_w_FY26‐V4_02032025.xlsx                                                                                                                   Deliberative Process
DOT‐000887          DOT‐000894                                                                              FHWA_Discretionary_Grants.2‐11‐25.docx                                                                                                                       Deliberative Process
DOT‐000895          DOT‐000901        Updated DOT Guidance on Competitive Grants                            unnamed                                                                                                                         jay.payne@dot.gov            Deliberative Process
                                      2:25-cv-02152-RMG                            Date Filed 04/17/25                                               Entry Number 68-1                                 Page 14 of 15


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                                                                                                                   CIVIL NO. 2:25-cv-2152
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      BEGIN BATES         END BATES                               SUBJECT                                       FILENAME                                        DATE SENT
                                                                                                                                                                                       Hines, LaToyaTO(FHWA)                   FROM                      PRIVILEGE REASON
                                                                                                                                                                                      <latoya.hines@dot.gov>,
                                                                                                                                                                                      "Shepherd, Gloria (FHWA)"
                                                                                                                                                                                      <Gloria.Shepherd@dot.gov>,
                                                                                                                                                                                      "Baker, Shana (FHWA)"
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                                                                                                                                                                                      <Nicolle.Fleury@dot.gov>,    "Payne, Jay (FHWA)"
DOT‐000902          DOT‐000905        Updated DOT Guidance on Competitive Grants   Updated DOT Guidance on Competitive Grants (4).msg                                 3/12/2025 14:53 "Frye, Tony (FHWA)"          <jay.payne@dot.gov>   Deliberative Process
DOT‐000906          DOT‐000906                                                     Disc_Grants_Status_w_FY26‐V4_02032025.xlsx                                                                                                            Deliberative Process
DOT‐000907          DOT‐000914                                                     FHWA_Discretionary_Grants.2‐11‐25.docx                                                                                                                Deliberative Process
DOT‐000915          DOT‐000921        Updated DOT Guidance on Competitive Grants   unnamed                                                                                             Hines, LaToya (FHWA)        jay.payne@dot.gov     Deliberative Process
                                                                                                                                                                                      <latoya.hines@dot.gov>,
                                                                                                                                                                                      "Shepherd, Gloria (FHWA)"
                                                                                                                                                                                      <Gloria.Shepherd@dot.gov>,
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                                                                                                                                                                                      <Hari.Kalla@dot.gov>, "Kohr,
                                                                                                                                                                                      Todd (FHWA)"
                                                                                                                                                                                      <todd.kohr@dot.gov>,
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DOT‐000922          DOT‐000925        Updated DOT Guidance on Competitive Grants   Updated DOT Guidance on Competitive Grants (6).msg                                 3/12/2025 19:33 "Frye, Tony (FHWA)"          <jay.payne@dot.gov>   Attorney/Client; Deliberative Process
DOT‐000926          DOT‐000926                                                     Disc_Grants_Status_w_FY26‐V4_02032025.xlsx                                                                                                            Attorney/Client; Deliberative Process
DOT‐000927          DOT‐000934                                                     FHWA_Discretionary_Grants.2‐11‐25.docx                                                                                                                Attorney/Client; Deliberative Process
DOT‐000935          DOT‐000941        Updated DOT Guidance on Competitive Grants   unnamed                                                                                                                        jay.payne@dot.gov      Attorney/Client; Deliberative Process
                                      2:25-cv-02152-RMG                            Date Filed 04/17/25                                               Entry Number 68-1                                 Page 15 of 15


                                                                                                        The Sustainability Institute, et al. v. Trump, et al.
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                                                                                                       PRIVILEGE LOG - PROTECTED AS RESTRICTED
                                                                                                                       (As of 4/16/2025)

      BEGIN BATES         END BATES                               SUBJECT                                       FILENAME                                        DATE SENT
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DOT‐000942          DOT‐000945        Updated DOT Guidance on Competitive Grants   Updated DOT Guidance on Competitive Grants.msg                                     3/11/2025 23:31 "Frye, Tony (FHWA)"          <jay.payne@dot.gov>   Deliberative Process
DOT‐000946          DOT‐000946                                                     Disc_Grants_Status_w_FY26‐V4_02032025.xlsx                                                                                                            Deliberative Process
DOT‐000947          DOT‐000954                                                     FHWA_Discretionary_Grants.2‐11‐25.docx                                                                                                                Deliberative Process
DOT‐000955          DOT‐000961        Updated DOT Guidance on Competitive Grants   unnamed                                                                                                                        jay.payne@dot.gov      Deliberative Process
                                                                                   Early April 2025 FHWA Chief Counsels Report to DOT General Counsel
DOT‐000962          DOT‐000964                                                     nmf (JOP).docx                                                                                                                                        Attorney Work Product; Deliberative Process
